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   In the Matter of the Writ of AMY WEISSBROD, Petitioner Pro Se, v. JORGE DOPICO, Esq., Senior Counsel of the First Departmental Disciplinary
               That's why
   Committee ("FDDC"),    HON.in   July
                                 FERN   we are
                                      FISHER,     launching
                                               Chief           a paywall
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                                                                    Judge, NYC  a model     thatJEAN SCHNEIDER, Supervising Judge, NYC Housing Part,
                                                                                    Court, HON.
   THOMAS CAHILL,
               rewardsEsq., JAMES  SHED, Esq., PAUL
                            our community            CURRAN,
                                                of users      Esq.,
                                                           with     NAOMI
                                                                 very      GOLDSTEIN,terms
                                                                        reasonable     Esq., And
                                                                                               ofOrlando Reyes, Esq., Harold McGuire, Esq., Chair
   Hearing Panel IV, Respondents. For a Judgment Pursuant to Article 78 of the CPLR
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   CYNTHIA S. KERN, Judge.

   Petitioner brings the instant petition seeking various relief related to an attorney disciplinary hearing held against her before the First Departmental
   Disciplinary Committee ("FDCC") on June 22, 2011 and related to an eviction proceeding conducted against her. Petitioner seeks the audio recording of
   the disciplinary hearing. She also alleges that during both proceedings her civil rights were violated and she was discriminated against on the basis of
   disability. In addition, she alleges that various attorneys and judges violated disciplinary rules during the eviction proceeding and she seeks damages
   and to have various judicial personnel disciplined for their role during that proceeding. Her claims will be considered in turn.

   As an initial matter, all parties have agreed that claims 2 and 7 should be referred to the Appellate Division. Claim 2 involves the disciplinary hearing
   against petitioner and claim 7 is petitioner's assertion that various lawyers who appeared before the court in her eviction proceeding committed
   disciplinary infractions. Because the Appellate Division is charged with exclusive jurisdiction to discipline attorneys practicing in each respective
   department (see Matter of Hyatt Legal Services, 97 A.D.2d 983 (4th Dept. 1983)), these claims are transferred to the Appellate Division.

   This court nds that claim 11, in which petitioner seeks to have the Hon. Fern Fisher discipline one administrative clerk and two NYC Housing Judges for
              fi
   alleged breaches of duty, alleged destruction of records and transcripts, alleged denial of petitioner's right to trial by jury and other violations, should
   also be transferred to the Appellate Division. Petitioner argues that this is "not a matter of attorney discipline" but does not elaborate. However,
   petitioner seeks, in her own words, to have judicial personnel "disciplined." This court does not have the power or jurisdiction to discipline attorneys or
   other court personnel. Therefore, this claim should be transferred to the Appellate Division.

   With respect to petitioner's           rst claim, seeking the original audiotape recording, petitioner may contact the stenographer directly and request it.
                                     fi
   Respondents have provided petitioner with the stenographer's name and contact information in their papers. If the court reporter is unwilling or unable
   to turn over the original audiotape recording, this court holds that a copy of the audiotape is su cient. In Feltington v Moving picture Machine




                                                                                                               ffi
   Operators Union Local 306 of I.A.T.S.E., 605 F.2d 1251 (S.D.N.Y. 1979), the court speci cally stated that the recording and transcript made by an




                                                                                                  fi
   independent reporter hired by the respondent was, in the absence of any evidence to the contrary, reliable and that petitioner had no right to make his
   own recording of the proceedings. Therefore, this court nds that a copy of the audio recording will, if necessary, satisfy petitioner's demands.
                                                                 fi
   The court now turns to petitioner's claims under 42 USC §1983. Respondents are entitled to dismissal of petitioner's claim of civil rights violations as
   petitioner did not plead the violations with su cient speci city and the claims, to the extent that they are brought against state o cials in their o cial
                                                        ffi
                                                                      fi
                                                                                                                                              ffi
                                                                                                                                                            ffi
   capacities, are barred by the doctrine of sovereign immunity. "Section 1983 proscribes conduct under color of state law which deprives a plainti of a




                                                                                                                                                           ff
   right . . . guaranteed by the federal constitution or federal law... Sovereign immunity bars section 1983 claims, whether rooted in alleged violations of
   constitutional or statutory law, against New York State or its o cers in their o cial capacities." Goonewardena v State of New York, 475 F.Supp.2d 310,
                                                                           ffi
                                                                                        ffi
   329 (S.D.N.Y. 2007) (citations omitted). To the extent that petitioner's claims 3 and 8 are brought against state o cers in their o cial capacities, those




                                                                                                                          ffi
                                                                                                                                        ffi
   claims are barred. To the extent that those claims are brought against state o cers in their personal capacities, petitioner has failed to state a claim.
                                                                                          ffi
   Petitioner does not give su cient information about the underlying facts and does not allege with speci city what federal constitutional or statutory
                               ffi
                                                                                                                     fi
   laws she alleges were violated. Claims 3 and 8 are therefore dismissed. To the extent claim 10 seeks attorneys' fees and damages pursuant to section
   1983, it is also dismissed. Similarly, to the extent claim 13 seeks damages pursuant to section 1983, it is dismissed as the underlying section 1983 claims
   have been dismissed.

   Petitioner fails to state a claim with regard to the remaining claims. Speci cally, as to claim number 4, alleging violation of petitioner's rights under the
                                                                                   fi
   NYS Constitution, petitioner fails to plead exactly how her rights were violated and which rights were violated. Petitioner similarly fails to state a claim
   regarding her allegation that her equal protection rights under New York State Judiciary Law Section 90(2) and 487 and the Fourteenth Amendment of
   the United States Constitution were violated (claim number 5). She does not plead with speci city how respondents violated her rights under the
                                                                                                          fi
   Americans with Disabilities Act (claim number 6). She does not specify her disability other than a vague, passing reference to a "permanent and severe
   pulmonary and immunologic disease," nor does she submit any evidence tending to prove that she was discriminated against on that basis. Petitioner
   also fails to state a claim for respondents' violations of her First Amendment rights (claim number 9). She does not provide any information about an
   incident or incidents when her right to free speech was quashed. Finally, she is not entitled to a damages award against Housing Part judicial o cers for

                                                                                                                                                     ffi
   abuse of process (claim number 12) as she also fails to plead this claim adequately. Since these claims have all been dismissed, to the extent claim 10
   seeks damages pursuant to any of these underlying claims, it is therefore also dismissed.

   Accordingly, all of petitioner's claims are dismissed except number 2, 7 and 11. The clerk is hereby directed to transfer claims 2, 7 and 11 to the Appellate
   Division. This is the decision, order and judgment of the court.




   Comment

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   Comments




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                                    Registration Number:                1994516
                                    Name:                               AMY R. GURVEY
                                    Business Name:
                                    Business Address:                   Not on File
                                    Business Phone:
                                    Email:
                                    Date Admitted:                      06/04/1985
                                    Appellate Division Department
                                    of Admission:                       3rd
                                    Law School:                         UCLA
                                    Registration Status:                Attorney - Suspended
                                    Next Registration:                  Apr 2023


                                 Disciplinary History

                                    Suspension                          Effective Date: 12/04/2012
                                    Ordered by Appellate Division 1st Department
                                    View Public Discipline




                                        The Detail Report above contains information that has been provided by the
                                        attorney listed, with the exception of REGISTRATION STATUS, which is
                                        generated from the OCA database. Every effort is made to insure the
                                        information in the database is accurate and up-to-date.
                                        The good standing of an attorney and/or any information regarding disciplinary
                                        actions must be confirmed with the appropriate Appellate Division Department.
                                        Information on how to contact the Appellate Divisions of the Supreme Court in
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                     SUPREME COURT OF THE STATE OF NEW YORK
                     COUNTY OF NEW YORK
                                                                                   -7




                     In the matter of the Writ of
                     AMY R. WEISSBROD,

                                        Petitioner Pro Se,                         NOTICE OF PETITION
                                                                                   PURSUANT TO
                                                                                   CPLR ARTICLE 78
                     For a Judgment Pursuant to Article 78
                     Of the Civil Practice Law and Rules,
                                            -against-                                            ,//// 7 P     *         Y
                     Jorge Dopico, Esq., Senior Counsel of the First Departmental
                     Disciplinary Committee (“FDDC”), Hon. Fern Fisher, Chief
                     Administrative Judge, NYC Civil Court, Hon. Jean Schneider,
                     Supervising Judge NYC Housing Part,Thomas Cahill, Esq. James Shed, E$
                     Paul Curran, Esq., Naomi Goldstein, Esq., and Orlando Reyes, Esq.,
                     Harold McGuire, Esq. Chair Hearing- Panel IV,

                                        Respondents.
                                                                              X


                              PLEASE TAKE NOTICE that upon the annexed Verified Petition sworn to this
                                                                                                   *   t   .

                                                                                                               -   .-   ...   .-
                     14thday of September, 20 1 1, Petitioner Pro Se AMY R. WEISSBROD, a permanently

                     disabled USPTO inventor and technology executive on inactive attorney status in

                     California and a graduate of the UCLA School of Law and Harvard Graduate School,

                     will move the Supreme Court of New York on the 14thday of October, 201 1 at 9:30 a.m.

                     or as soon thereafter as the parties may be heard at the Courthouse located at 60 Centre

                     Street, New York, NY 10007 in Motion Support Room 130 for a judgment pursuant to

                     Article 78 of the Civil Procedure Law and Rules:

                              (1)       Directing Respondent Jorge Dopico, Chief Counsel of the First

                     Departmental Disciplinary Committee (“FDDC”) and Harold McGuire, Esq. Chair of

                     FDDC Hearing Panel IV, to deliver to Petitioner, pursuant to the Due Process and



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                Supremacy Clauses of the United States Constitution, the original audiotape recording

                with certified chain of custody from a June, 22,201 1 hearing for Petitioner’s independent

                certified transcription. [Rosario v. Amalgamated Ladies Garment Cutters Union, Local

                10, ILGWU, 605 F. 2d 1251 (SDNY 1979) (other cases cited therein); United States v.

                Garlund Tvree, 279 Fed. Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d

                Cir. 2007); Goonewardena v. State ofNY, 475 F. Supp. 2d 3 10 (SDNY 2007)l;

                         (2)      Ordering Respondent Dopico to immediately withdraw Respondents’

lm             collateral estoppel proceeding in chief;

                         (3)      Determining that Respondent officers Jorge Dopico, Fern Fisher,

               Jean Schneider, Thomas Cahill, James Shed, Paul Curran, Naomi Goldstein and Orlando

               Reyes, acting under color of state law, violated Petitioner’s Due Process and Equal

               Protection rights under the Fourteenth Amendment and ordering damages against them

               pursuant to 42 USC 1983 in their official and individual capacities. [Forrester v. White,

               484 US 219 (1988) (O’Connor, J.); Goonewurdena v. State ofNY, 475 F. Supp. 2d 310

               (SDNY 2007); Antoine v. Byers & Anderson, 508 U S . 429, 113 S.Ct. 2167, 124 L.Ed.2d

               391 (1 993); Rosario v. Amalgamated Ladies Garment Cutters Union, Local 3 0, ILG WU,

               605 F. 2d 1251 (SDNY 1979) (other cases cited therein); United States v. Garland Tyree,

               279 Fed. Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d Cir. 2007);

               also, Cornell v. State ofNY, 46 NY 2d 1032,389 NE 2d 1064 (1979);

                        (4)       Determining that Respondent officers violated Petitioner’s rights under

               NY’s Constitution and ordering damages against them;




                                                               2
 b                                                                                                EXHIBIT 5
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                         (5)       Determining that Respondent officers violated Petitioner’s right to equal

.9              protection of NY’s Judiciary 5s 90(2) and 487 under the Fourteenth Amendment of the

                United States Constitution and ordering damages against them;

                         (6)       Determining that Respondent state officers violated Petitioner’s rights
e
                under the Americans with Disabilities Act, 42 USC 12132 et seq., (“ADA”) Title I1 and

                ordering damages against them in their official and individual capacities. [Goonewardena

                v. State ofNY, 475 F. Supp. 2d 310 (SDNY 2007)l;

                         (7)       Ordering that Respondent Dopico discipline the attorneys Elliot J.

                Cherson, Esq., Alfred Pennisi, Esq., Laurence Pearson, Esq. and Stephen Levy, Esq. who

                practice before the First Dept. under the Equal Protection Clause of the US Constitution

                and NY’s Judiciary Law Section 90(2) and 487 because they undertook material forgery

                of a stipulation adverse to a tenant’s HUD interests as found by Supreme Court;

                unilaterally altered a stipulation and appended it to warrant of eviction in a EIUD/ADA

                eviction proceeding; falsely swore before the Supreme Cowt of NY that their landlord

*               clients had no legal connection with the building project when they accepted three HUD

               mortgages; intentionally deprived Petitioner of notice of her federal rights and remedies;

               concealed and approved consideration for a coterminous lease to Petitioner’s HUD/ADA

               protected apartment to another tenant; violated the Disciplinary Rules of NY; aided and

                abetted Petitioner’s false arrest and malicious prosecution by Respondents; and bore false

               witness against Petitioner and her attorneys, Jay Stuart Dankberg, Esq. and Alan

                Goldberg, Esq.;

                         (8)      Ordering that Respondents state officers pay damages to Petitioner

               pursuant to 42 USC 5 1983 for stigmatization, medical injuries, emotional distress, abuse




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               of process, malicious prosecution, false arrest, harassment; special damages to

               Petitioner’s career, professional reputation and patents, and aiding and abetting the undue

               forfeiture of Petitioner’s HUD/ADA protected disability tenancy interests in NYC;

                         (9)      Ordering punitive damages against Respondent FDDC officers as
a
               exemplary damages for heinous malicious harassment and attempting to quell her

               absolute rights of expression and exercise HUD remedies under the First Amendment;

                         (1 0)    Ordering Respondents to pay Petitioner 42 USC 1983 damages, attorneys’

               fees and costs for aiding and abetting undue forfeiture of Petitioner’s HUD/ADA

               protected lease and associated federal benefits;

                        (1 1)     Ordering Respondent Hon. Fern Fisher under Administrative Order

               207/85 and Miller v. Silbermann, 951 I;. Supp. 485,494 (SDNY 1997) (Kram, J.) to

               discipline one administrative clerk, Ernest0 Belzaguy and two NYC Housing Judges

               Laurie Lau and Jean Schneider for administrative breach of duty during a HUD eviction

               proceeding; for presiding without any power under NY statutes; for covertly destroying

a              and failing to record proceedings and transcripts; denying Petitioner her HUD mandated

               right to trial by jury and BUD’S preempting and expanded definition of due process

               rights under the Supremacy Clause of the United States Constitution; and unlawfully
II
               sending Petitioner’s tenant sanction to the NYS Lawyers’ Fund;

                        (12)      Ordering damages against Housing Part judicial officers for abuse of

               process because Petitioner not an attorney admitted in NYS and not appearing as an
a
               attorney in the case;

                        (13)      Ordering 42 USC 1983 damages against Respondents for independently

I,             failing to investigate public attorney membership records concerning Petitioner; and




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I)                                                                                               EXHIBIT 5
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e

                        (14)      Granting such other and further relief in Petitioner's favor as the Court

Q              deems just and proper.



                        PLEASE TAKE FURTHER NOTICE that pursuant to CPLR 2214 (b),
a
                                                                                  I
               opposition papers must be served at least seven days prior to th return date.



a



                                                                PH 9 17-733-998 1


               To:

              Office of the NY S Attorney General
              120 Broadway
              New York, NY 10271
              Attn: Intake, Litigation Bureau
              (212) 416-8000

              NY S Attorney General
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              Hon. Fern Fisher
              Chief A h . Judge
              NYC Civil Court
              11 1 Centre Street
              Chambers 12fhF1
              New York, NY 10013




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              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK
                                                X

              In the matter of the Writ of
              AMY R. WEISSBROD,

a                                Petitioner Pro Se,                          VERIFIED PETITION

              For a Judgment Pursuant to Article 78
              Of the Civil Practice Law and Rules

                                          -against-
a
              Jorge Dopico, Esq., Senior Counsel of the First Departmental
              Disciplinary Committee (“FDDC”), Hon. Fern Fisher, Chief
              Administrative Judge, NYC Civil Court, Hon. Jean Schneider,
*             Supervising Judge Housing Part,Thomas Cahill, Esq. James Shed, Esq.,
              Paul Curran, Esq., Naomi Goldstein, Esq., and Orlando Reyes, Esq.,
              Harold McGuire, Esq. Chair Hearing Panel IV,

                                 Respondents.
                                                                       X

              STATE OF NEW JERSEY )
                                                   ) ss:
              COUNTY OF ESSEX                      1
e
                       AMY R. WEISSBROD, the Petitioner in this CPLR Article 78 proceeding,

              being duly sworn, swears to the truth of the following statements under penalty of perjury

              in support of her Verified Petition seeking a writ and mandamus for Respondent NY S

              officers to immediately deliver to Petitioner the original hearing audiotapes and chain of

              custody from a June 22,201 1 sanction hearing for Petitioner’s independent certified

              transcription; for declaratory determinations of violations of Petitioner’s constitutional

              rights; and damages, punitive damages, attorneys’ fees and costs against Respondents and

              in Petitioner’s favor pursuant to 42 USC §§ 1983, 1988.




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                                                   I. VERIFIED PETITION

a                      1.       This Article 78 Verified Petition is brought pursuant to controlling

             decisions from the United States Supreme Court and the Federal and State Courts of NY

             against Respondents who are administrative, judicial and quasi-judicial officers of the
a            First Departmental Disciplinary Committee in NYS (L‘FDDC’’) and the NYC Civil Court.

             [Goonewardena v. State ofNY, 475 F. Supp. 2d 310 (SDNY 2007)J; Rosario v.

             Amulnamated Ladies Garment Cutters Union, Local I O , ILGWU, 605 F. 2d 1251 (SDNY
a
             1979) (other cases cited therein); United States v. Garland Tyree, 279 Fed. Appx. 3 1

             (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d Cir, 2007); see also Forrester v.

             White, 484 US 219 (1988) (O’Connor, J.); Antoine v. Byers &Anderson, 508 US,429,

             113 S.Ct. 2167, 124 L.Ed.2d 391 (1993)J.

                       2,       The Petition seeks a writ mandating that FDDC Respondents immediately
c
             deliver to Petitioner the original audiotapes and certified chain of custody from a sanction

             hearing that took place on June 22,201 1 before FDDC Hearing Panel IV, Respondent

e            Harold McGuire, Esq. presiding; declaratory determinations of violations of Petitioner’s

             constitutional rights; and ordering 42 USC §§1983, 1988 damages and punitive,

             exemplary damages, attorneys’ fees and costs in Petitioner’s favor and against

             Respondents in their official and individual capacities. Goonewardena v. State ofNY,

             475 F. Supp. 2d 3 10 (SDNY 2007)J; Rosario v. Amalgamated Ladies Garment Cutters

             Union, Local 10, ILGWU, 605 F. 2d 1251 (SDNY 1979) (other cases cited therein);

             United States v. Garland Tyree, 279 Fed. Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL

             6506796 (2d Cir. 2007).




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la

                          3.      Under the doctrine of respondeat superior, the State of NY is liable for

e              violations of Petitioner’s constitutional rights undertaken by Respondents in their official

               and individuals capacities. Cornel1 v. Stute o f N Y , 46 NY 2d 1032, 389 NE 2d 1064

               (1 979).        Respondents’ primary responsibility, however, involves Respondents’
a
               constitutional violations against Petitioner’s person, properties, business and professional

               interests.

                          4.      In this petitioner, Petitioner seeks declaratory determinations that FDDC
a
               Respondents are separately liable and must pay damages under 42 USC 1983, attorneys’

               fees and costs and punitive damages for Petitioner’s unjustified abuse and harassment
e              that was undertaken only because Respondents breached their public duty to her under

               the Equal Protection Clause and NY’s Judiciary Law 5s 90(2) and 487 by failing to

               discipline NY attorneys that Supreme Court found materially and unilaterally forged

               Housing Part documents in proceedings concerning Petitioner’s own HUD/ADA

               protected apartment. (Exhibit 1) These attorneys also falsely swore before that their

a              landlord- clients had no affiliation or legal connection whatsoever with the building

               project when HUD’s 2005 FOIA production c onfirmed the y are 1/3 equity owners.

               (Exhibit 2). Under reams of annotations to NY Judiciary Law Sections 90(2) and 487,
a              other attorneys in NYS have been disbarred or suspended for such acts of fraud, forgery

               and misconduct.          Respondents’ failure to discipline, therefore, and their targeting

               Petitioner for unjustified judicial abuse, demonstrates that their standards and protocols

               are not equally applied, as they must be under the Equal Protection Clause, particularly

              when the aggrieved complainant has underlying federal HUD/ADA rights at issue,




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                        5.       Petitioner now seeks an order mandating that Respondents immediately

              withdraw their petition in chief as frivolous and pay 42 USC 1983 damages, attorneys’

              fees and costs, and punitive damages for stigmatization, medical injuries, emotional

              distress, abuse of process, malicious prosecution, klse arrest, harassment; special
e             damages to Petitioner’s career, patents and stellar professional reputation; and aiding and

              abetting the undue forfeiture of Petitioner’s HUD/ADA protected disability tenancy

              interests in NYC.

                        6.       The Petition is timely brought within four (4) months of the June 22,201 1

              hearing that Respondents conducted after the NY Court of Appeals held on

a             September 14,2010 that FDDC Respondents’ collateral estoppel proceeding in chief was

              not final as defined under NY’s Constitution. The NY Court of Appeals previously held

              that the underlying housing proceedings, which are the premise for Respondents’

              collateral estoppel petition, were also not final.    (Exhibit 3).

                       7.        Respondents’ other improper motives were to deter Petitioner from

              seeking damages, attorneys’ fees and costs against NYS Housing Part officers for

              deprivation of her constitutional rights during proceedings concerning her own valuable

              HUDIADA apartment ; and possibly also to discourage Petitioner’s proper and

              1
               Hudson Towers Housing v. Amy Weissbrod & Patrick Lynch, NYC Civil Court L&T
              Index No. 6094 1/97; Amy Weissbi-odv. Putrick Lynch, Hudson Towers Housing Elliot
              Cherson, Rappaport, Hertz, Cherson & Rosenthal, and the Lefiak Organization, Inc., NY
              Supreme Index No. 118826197.

               King v. Housing Authority of the City ofHuntsville, AL, 670 F. 2d 952 (1 lthCir. 1982);
             Skinner v. Boston Housing Authoritv, 690 F. Supp. 109 (D. Mass 1988) [Reversed on the
             issue of the Tenants’ attorneys’ fees and costs that were awarded in full by the First
             Circuit, 873 F. 2d 1433 (lst Cir. 1989)l;GoZdbern v. Kelly, 397 US 254 (1970); Escalera
             v. NYC Housing Authority, 425 F. 2d 853 (2d Cir. 1970); Lopez v. Henry Phipps Plaza
             South, 498 F. 2d 937 (2d Cir. 1974) (binding NY landlords organized under the Limited
             Profit Housing Law of NY who receive HUD mortgages under the National Housing Act,

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              continued participation in an ongoing tenants’ investigation at HUD’s Washington, DC

              office against her landlords, Hudson Towers Housing and parent 1/3 owner Lefrak

              Organization, Inc. at the Gateway Plaza project in Battery Park City . This is where

              Petitioner has a federally protected apartment and associated welfare benefits effective
a             September, 1995       ’.
                        8.        Respondents also never took required disciplinary action when state

              housing officers also acting under color of state law: (i) destroyed audiotapes and

              transcripts in the underlying housing proceedings; (ii) failed to record seminal hearings

              and recuse themselves as they represented; (iii) interfered with Petitioner’s appeals

0             through the state system; (iv) discriminated against Petitioner for being disabled and

              married with a high-risk pregnancy in open court; (v) and then denied Petitioner HUD’s

              preempting and mandatory expanded definition of due process and a jury trial in violation

              of the Supremacy Clause of the United States Constitution. (Exhibit 4) (fn 2, supra).

              (See also, Memorandum of Law, Section V, infra).

                        9.       Furthermore Housing Judge Jean Schneider who in 2003 issued the

              sanction order jointly against Petitioner as tenadclient, and her attorney Jay Stuart

              Dankberg, Esq. that Respondents seek to use collaterally had no power to preside, and

              her subject order is void under NY’s Constitution and state decisions that have

              interpreted it. And an appeal thereto is also not yet final before the State. (See,

              Memorandum of Law, Section V, paras. 61-62, infra)



              12 USC 1701); McNeill v. NYC Housing Authority, 719 F. Supp. 233 (SDNY 1989)
              (Walker, J.).

                HUD Investigation No. 05-HL-1438


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                          10.      The Gateway Plaza multi-apartment project has been unlawfully managed

a               for years in violation of preempting HUD Regulations and run by its landlordowners as

                “purely private” when in fact the landlords Hudson Towers Housing and its parent Lefrak

                Organization accepted three (3) increasing HUD mortgages from the US Government and

                enjoyed 25 years of tax exempt status from NYS.             Landlords’ strict compliance was the

                stated consideration for their low interest federal mortgages as revealed in HUD’s 2005

                FOIA production. HUD also previously prosecuted the landlords before SDNY starting
1,
                in 1985 for illegal rent gouging, lease and wait list violations in publicized cases that

                were settled and not reported.        ’ After settlement, landlords resumed their illegal
0               activities to appreciate their 1/3 equity interest. They also resumed the illegal practice of

                issuing non-compliant leases that deprived tenants of HUD mandated notice of their

               federally protected rights and remedies when faced with eviction and retaliatory eviction,

               which is Petitioner’s case. 24 CFR 966.4.

                         11.       Gateway Plaza is a unique, valuable commodity for qualifying tenants. It

               is combined-use building project in Battery Park City where tenants can run businesses

               from their apartments with full gym, pool and disability facilities. It is where Petitioner

               was issued a valuable ADA-approved lease when she was in graduate school in
a              California and about to enter medical school as a disabled student in NYC. Petitioner’s


               4
                 In 2005, it was first revealed to Petitioner that a NYS agency, Battery Park City
m              Authority (CLBPCA”),was an equity partner with landlords effective 1980 and had an
               irreconcilable conflict of interest never disclosed as it was delegated by HUD with the
               duty to “stand in the shows of the DHCR in protecting the tenants’ federal interests”; but
               on the other hand it was an equity partner with ownership interests in sync with the
               landlords.

                Sultzer v. Pierce, 85 CV OS19 (CES) (SDNY 1985); Sultzer v. Battery Park City
               Authority, NY Supreme Court Index No. 13906186.

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              unit was also optimally appointed on the north cool side of the project, therapeutic for her

0             permanent and severe pulmonary and immunologic disease, and on the lower Manhattan

              waterfront, cool in the summertime. Petitioner, who could not complete clinical training

              in medical school then became a technology inventor in medical education with a

              successful start-up business, and has urgent need for reinstatement of her lease in a

             combined-use building project that is rent stabilized.

                       12.      A core issue at bar is that unbeknownst to Petitioner, her lease was a per se

             violation of HUD mandates 24 CFR 966.4; 966.51(a)(2); 966.66. It was an instrument

             only properly used for purely private housing in NYC because it omitted iteration and

             notice of the federal rights and remedies before the Federal Courts that attached to her

             tenancy as a matter of preempting HUD mandates. Petitioner’s lease is a per se violation

             of 24 CFR 966.4; 966.5 l(a)(2). It also illegally required her to waive her right to trial by

             jury in violation of 24 CFR 966.66. In NYS, ajury trial can only be legally waived in a

             lease issued to a tenant in purely private housing. Without a proper HUD compliant

0            lease, then, Petitioner also became deprived of her right to counsel when landlords’

             without cause attempted to terminate her lease before the Housing Part,because her

             attorneys were also deprived of notice of her immediately exercisable federal rights and

             remedies in the issued lease.

                       13.      The following additional facts demonstrate Respondents heinous abuse of

             Petitioner mandating damages and punitive damages against them. While Petitioner was
0
             on a priority wait list for a larger disability apartment, pregnant with a high-risk

             pregnancy and in medical school commuting from her ADA-approved subject apartment,

             landlords clandestinely issued an illegal concealed (coterminous) lease to her unit




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              outsider. Consideration (one month’s rent and security) is stated as received by landlords

              from their theretofore concealed new tenant two weeks before their attorneys even filed a

              holdover proceeding naming Petitioner in the Housing Part! (Exhibit 5 ) Landlords

              filed their petition of holdover without serving Petitioner with HUD mandated notice of
e             lease termination and without cause. Landlords’ attorneys then drafted a stipulation

              representing expedited issuance to Petitioner of a larger priority wait list unit (then

              already owing to her for more than a year), materially altered the stipulation they
a
              presented in different form before filing it appending to a warrant of eviction through the

              Housing Part clerks’ window also without having it so ordered by a Judge.

a                      14.       The problem for FDDC Respondents herein is the pre-existing order from

              Supreme Court of NY (Exhibit 1) that had already found, prior to the Housing Part

              hearings, that the landlords lawyers unilaterallv and materially changes afier

             Jiaudulently inducing Petitioner and her attornevs to sign it!. (Exhibit 1 with

              attachments). This order established the “law of the case” that Housing Judges were

              required to follow and did not; and demonstrates that Petitioner-tenant’s attorney’s 2000

              motion for vacatur was proper and authorized, and mything but frivolous or

              sanctionable! In the interim Respondents did not discipline the landlords’ attorney per
e             Supreme Court’s order.

                       15.       The decision that FDDC Respondents now seek collateral estoppel

              application of, was issued by Respondent Judge Jean Schneider in 2003. FDDC
a
              Respondents’ proceeding in chief was then filed as a chilling tactic to deter Petitioner’s

              pursuit of her individual HUD remedies against themselves and NYC Housing Part

a             officers for ongoing deprivations of her constitutional rights and HUD remedies.




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                       16.      FDDC Respondents’ abuse of state process against Petitioner constitutes

e             separate intentional torts against Petitioner’s person, property, business and professional

              interests that warrant 42 USC 1983 damages and punitive damages against them

              personally.
a                                                  11. ABUSE OF JUDICIAL PROCESS

                       17.      Petitioner, contrary to Respondents’ untruthful allegations in its

             proceeding in chief, is not admitted to active practice in NYS, was never admitted to the

             First Dept., never appeared as an attorney before the First Dept., does not reside in NY,

             has no clients in NY, and was at all times relevant herein, was the tenant-client in the

e            housing proceedings.

                       1S.      Respondents, therefore, have no jurisdiction over Petitioner in the capacity

             of attorney. These facts were admitted during the June 22,201 1 hearing, demonstrating

             the cogent due process need for delivery to Petitioner of the original audiotapes and

             certification of chain of custody.

e                      19.      Also, in all public records including membership records at the NY Court

             of Appeals, Petitioner is listed as retired from the Third Dept. in NYS effective January 1,

             2002 and on continuing inactive status in the State of California based on disability.

             Respondents are deemed to have actual notice of public records as a matter of law

             particularly membership records regarding active members of the NY Bar.

                       20.      In addition, in the underlying housing proceedings, Petitioner was at all

             times, represented by two attorneys, Jay Stuart Dankberg, Esq, and Alan Goldberg, Esq.

             who admitted to preparing, filing and arguing all motions. Ergo, Petitioner performed no

e


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              act in the capacity of an attorney whatsoever; and an affirmative act in the capacity of

a             attorney is required for any attorney discipline.

                       2 1.      That other previous and state tapes and transcripts were already ordered

              destroyed in the housing proceedings without notice to Petitioner or her attorney, makes
a             mandamus a proper remedy. Goonewardena v. State ofNY, 475 F . Supp. 2d 3 10 (SDNY

              2007)]; Rosario v. Amalaamated Ladies Garment Cutters Union,Local 10, ILG WU, 605

              F. 2d 1251 (SDNY 1979) (other cases cited therein); United States v. Garland Tyree, 279

              Fed, Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d Cir. 2007).

                       22.       This Court must now also order mandatory withdrawal or dismissal of

              Respondents’ petition in chief as frivolous and abort further abuse by mandamus, In

              201 1 FDDC Respondents noticed they still intended to conduct a hearing to determine

              what attorney sanction, if any, should be assessed against Petitioner personally.
a
              Respondents now admit on the record Petitioner was not appearing as an attorney, and

             jurisdiction is lacking. Petitioner has the right to be free of unjustified abuse.

                       23,      There is always, as FDDC Respondents are fully aware, significant

             professional damages and consequential damages when discipline of any kind is

             undertaken by their office, Their punishment is always damaging to reputation and

             career. The public belief is that punishment by Respondents is always in capacity ofan

             attorney in active practice that will, without question, adversely affect the individual’s

             professional record, career, business interests and reputation, ability to make a living and

             be hired, and will also stigmatize in perpetuity other matters in which the attorney may

             need to bring before any Court. FDDC Respondents must pay for all damages to




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                Petitioner that were foreseeable by them when they intentionally and maliciously abused

B               judicial process.

                         24.      Respondents’ e-mails even demonstrate that members of their office were

                seeking cruel and unusual punishment & Petitioner’s disbarment for a minor monetary
B
                sanction. Disbarment has never been authorized under these types of circumstances by

               the Appellate Division. 6 There is not one annotation affirming disbarment for a

               monetary sanction when the individual was not appearing in the capacity of attorney and
B
               had other attorneys formally retained in the case. Ergo Respondents violated Equal

               Protection and must be cited and pay.

D                        25.      While Petitioner concedes that monetary sanctions could, if they were

               warranted, have been assessed against her only as a party-tenant, here Respondent

               Housing Judge Schneider improperly sent Petitioner’s tenant sanction to the NYS
‘ c            Lawyers’ Fund anyway, in reckless disregard of the consequences. Judge Schneider

               knew from the transcripts that Petitioner was not an attorney in the case and not in active

               practice in NY. FDDC Respondents then aided and abetted this wrongful state action and

               attempted to cover up their failure to discipline the landlords’ attorneys.

                         26.      Petitioner is absolutely entitled to equal protection of NY’s attorney

               discipline laws both as an individual tenant in HUD federally protected housing and from

               the perspective of being insulated from abuse for proper administrative pursuit of her




                 Most respectfully, when Petitioner sent FDDC Respondents a grievance concerning her
               own USPTO patent lawyers for withdrawing from her USPTO representation without
               notice to her and for admittedly representing major competitors with conflicting interests
8              to her patents and inventions, FDDC Respondents took no action. This definitely shows
               that Respondents’ practices violate Equal Protection.


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             HUD rights and remedies . Respondents must now be ordered to discipline the opposing

             attorneys to comply with Equal Protection under the United States Constitution,



                             111. PETITIONER’S RIGHT TO ORIGINAL AUDIOTAPES

                       27.      Since the date of the June 22,201 1 sanction hearing, Respondents Dopico

             and Reyes have emphatically refused Petitioner the original hearing audiotapes with

             chain of custody. This is aper se violation of Petitioner’s right to due process warranting
Y
             42 USC 1983 damages, because other relevant tapes and transcripts were already

             unilaterally destroyed without notice by state officers. United States v. Garland Tyree,

             279 Fed. Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d Cir. 2007).

                      28,       Petitioner has the absolute right free from harassment and abuse of

             process, to collaterally attack Respondents’ Due Process, Equal Protection, First
B
             Amendment and Supremacy Clause violations in State or Federal Court until a final order

             as defined under NY’s Constitution is entered. Goonewardena v. State ofNY, 475 F.

             Supp. 2d 3 10 (SDNY 2007)l; Rosario v. Amalgamated Ladies Garment Cutters Union,

             Local 10, ILGWU, 605 F. 2d 1251 (SDNY 1979) (other cases cited therein).

                      29.       That relevant audiotapes and transcripts from the Housing Court were

             already covertly destroyed conclusively demonstrates that Petitioner had no full and fair

             opportunity to litigate, ErEo, Respondents’ upplication based on collateral estomel is a

             1egu1impossibility and frivolous.

                      30.      In August, 201 1, two (2) months after the June 22“dhearing, Respondents

             Reyes and Dopico again improperly denied Petitioner original audiotapes, transcripts and




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             chain of custody. The ongoing pattern of due process violations and disappearance of

             original records makes Respondents’ recent denial very circumspect,

                       3 1.     There can be no question that only one original transcript from June 22

             20 11 can exist for purposes of Respondents due process attacks and for Petitioner’s

             appeal to the NY Court of Appeals. United States v. Garland Tyree, 279 Fed. Appx. 3 1

             (EDNY 2007) (Fed, Briefs, 2007 WL 6506796 (2d Cir, 2007)

                       32.       Instead, Respondents referred Petitioner to Ubiqus, a NYC transcription

             company. Chris Kelly, manager of Ubiqus, told Petitioner that his ofice cannot

             guarantee that the tape delivered by Respondents was an original and unedited recording

             from the hearing. Mr. Kelly also said that Ubiqus cannot give Petitioner certification of

             chain of custody on behalf of Respondents or the State. Kelly further wrote Petitioner in

             an e-rnail that he was instructed to make one audio digital recording plus one written
D
             digital recording and then to quickly return the delivered tape back to Respondents.

             (Exhibit 6) Kelly also said he was explicitly instructed by Respondents &to           give

             Petitioner a copy of the audio digital transcript. This implies that Ubiqus’ digital

             written version might be different or have alterations from the original and/or the audio.

                      33.       Respondent Reyes then advised Petitioner that FDDC’s position is that the

             State owns the original recording and Petitioner has no right to it.

                      34.       Petitioner emphatically opposes this legal conclusion.

                    IV. PUNITIVE DAMAGES ARE PROPERLY AWARDED FOR ABUSE

                      35.       In 2005, when HUD opened a formal investigation targeting landlords

             and Battery Park City Authority (a NYS agency) for continuing HUD violations at the




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             Gateway Plaza project ,Petitioner became the target of judicial harassment, abuse and

D            malicious prosecution. 8

                       36.      On April 1,2005, FDDC Respondents first sent Petitioner an admonition

             notice citing Judge Scheider’s 2003 sanction order. Petitioner wrote back that

             Respondents have no jurisdiction over her, she is not admitted to active practice in NYS,

             and performed no affirmation act in the capacity of attorney in the proceeding.

                       37.       By definition, under NY’s Constitution, Respondents’ 2005 admonition
D
             constituted “discipline not warranting a proceeding before the Appellate Division”.

                       38.      In 2007, with no subsequent conduct of the same type cited as is required
D            under NY’s Constitution, 22 NCYRR 603.9, Respondents nonetheless defied NY statutes

             and filed a formal collateral estoppel proceeding before the Appellate Division First

             Dept. Petitioner was never admitted to the First Dept. and performed no act in the

             capacity of attorney in this proceeding. In addition, Petitioner was then already then five

             years retired from NY’s Third Dept. and on inactive disability status in California.

                      39.       Respondent FDDC officers represent a faction of the State Bar of NY

             delegated with the irrevocable duty under 22 NYCRR 603, et seq. to process complaint,

             commence and impose discipline against attorneys for violations of NY’s Disciplinary



              HUD Investigation No. 05-HL 1438; See also Sultzer v. Pierce, 85 CV 05 19 (CES)
             (SDNY 1985) (a class action brought by HUD and the original Gateway Plaza Tenants’
             Association or illegal rent gouging, violation of wait list procedures and illegal evictions.
D            The case was settled and never reported)

               HUD’s 2005 FOIA production revealed for the first time that BPCA is aNYS agency
             that was HUD’s delegated supervising agency for Gateway Plaza commencing in 1980
             and assigned the job of standing in the shoes of the DHCR in protecting the tenants’
             federal interests. HUD’s 2005 production also revealed for the first time that BPCA is an
             equity partner with ownership interests in sync with the landlords 1/3 interest, presenting
             a conflict of interest, never revealed to the Gateway Plaza tenants as it should have been.

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              Rules and other misconduct as codified and annotated in NY’s Judiciary Law $6 90(2)

              and 487, However Respondents’ jurisdiction is expressly limited by statute to attorneys

              who are: (i) in current active practice in the First Dept.; (ii) whose offices are located

              within the First Dept.; or (iii) who commit acts while acting in the capacity of attorney

             within the First Dept. [22 NYCRR 603, et seq.; NY’s Judiciary Law 5s 90(2) and 487;

             Alexander v. Cahill, 598 F. 3d 79 (2d Cir. 201 0), See also, Alexander v. Cahill lower

             court decisions, 5:07-cv-117 (NDNY); 634 F. Supp. 2d 239 (2007 WL 1202402, April

             23,2007; 2009 WL 8906081.

                       40.      Petitioner as Respondents knew, falls into none of these categories.

                       4 1.     The State Bar is a union of NY attorneys. The difference from private

             unions is that the discipline to be imposed in each case is determined by officers and

             quasi-judicial officers who are employees of NYS and m b y private members of the Bar.
t
             A suit against NYS employees in federal court is held to be one against the State, Also,

             because NYS has not agreed to be sued in Federal Court, those being disciplined have

             more limited remedies to recover for due process violations under the Eleventh

             Amendment. Goonewardena v. State ofNY, 475 F. Supp. 2d 3 10 (SDNY 2007).

                      42.       Here, however, FDDC Respondents’ abuse was undertaken without all

             jurisdiction. It was also undertaken in violation of ADA Title 11. It was undertaken to

             conceal Respondents’ violations of equal protection. In these cases, damage suits are

             properly brought in Federal or State Court against state employees in their official and

             individual capacities. Goonewardena v. State ofNY, 475 F.,Supp. 2d 3 10 (SDNY

             2007). For additional violations, action is properly brought in state court.   m.


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                        43.       Respondents, having made the calculated and pre-meditated decision to

               abuse process against Petitioner without jurisdiction or cause, took the risk that

               Respondents would be held responsible for all foreseeable damages Petitioner suffered,

               The Supreme Court of the United States, SDNY and Appellate Division have all held that
0
               NYS officers can be sued in their official and individual capacities for due process and

               ADA Title I1 violations, harassment, abuse of process without jurisdiction, and

               destroying audiotapes and transcripts from state proceedings, all that exist in the instant
8
               case. Goonewardena v. State ofNY, 475 F. Supp. 2d 3 10 (SDNY 2007); Forrester v.

               White, 484 US 219 (1988) (O’Connor, J.); Antoine v. Bvers &Anderson, 508 US 494

               (1 988);see also Rosario v. Amalgamated Ladies Garment Cutters Union, Local 10,

              ILGWU, 605 F. 2d 1251 (SDNY 1979) (other cases cited therein); Unitedstates v.

               Garland Tyree, 279 Fed. Appx. 3 1 (EDNY 2007) (Fed. Briefs, 2007 WL 6506796 (2d
6
               Cir. 2007)] see also, Harris v. NY’SDept. ofHealth, 202 F. Supp. 2d 143 (S.D.N.Y.

              2002); Garcia v. SUNYHealth Sciences Center at Brooklyn, 280 F.3d 98 (2d Cir.

t             2001;AZvarez v. Snyder, 264 A.D.2d 27,702 N.Y.S.2d 5 (lstDept. 2002).

                        44.      Punitive exemplary damages are properly awarded in a case such as this

              because Respondents’ actions were undertaken with malice, without jurisdiction or
Ib
              justification, and in reckless disregard of the professional, medical and emotional injuries

              that were clearly foreseeable under the circumstances because Petitioner i s disabled.

              Forrester v. White, 484 U S . 219, 108 S.Ct. 538,98 L.Ed.2d 555 (1988) (O’Connor, J.)

              Antoine v. Byers &Anderson, 508 U S . 429, 113 S.Ct. 2167, 124 L.Ed.2d 391 (1993).

              New York has followed suit. Alvarez v. Snyder, 264 A,D.2d 27,702 N.YS.2d 5 (lst

              Dept 2000); Pantoja v. Scott, 1997 WL 433472,96 CV 8593 (LLM).




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                        45.       FDDC Respondents are further responsible for acting based on improper

              motives, i.e., attempting to shield other state officers from liability for other, separate and

              heinous rights violations. For example, Judge Laurie Lau’s mockery of Plaintiffs

              disability and high-risk pregnancy in open co& constitutes per se breach of the

              Americans With Disabilities Act, 42 USC $512132 et seq,, not protected by the Eleventh

              Amendment because Congress expressly voiced its intent to the contrary. Harris v. NYS

I             Dept. of Health, 202 F, Supp. 2d 143 (S.D.N.Y. 2002) and Garcia v. S W Y Health

              Sciences Center at Brooklyn, 280 F.3d 98 (2d Cir. 2001). Clerk Belzaguy, in turn,

              ordered covert destruction of the tapes from the early Lau proceedings to protect the state
D             from damage liability, and prevent review of Judge Lau’s statement in open court on

              appeal.

                        46.      Likewise, Judge Schneider’s breach of preempting HUD Regulations and

              the Supremacy Clause of the United States Constitution, by improperly denying

              Petitioner’s request for a jury trial, her tenant folder, the original stipulation, and a due

D             process compliant hearing on the landlords’ stated grounds, are also not protected.

              24 CFR 966.5 l(a)(2); 955.4(1)(3); 966.66. Granting a tenant’s application for expanded

              due process rights under HUD are mandatory functions of the adjudicating tribunal,
8
              deprivation of which entitles the tenant to damages, attorneys’ fees and costs. 42 USC

              $5 1983, 1988; 24 CFR 966.51(a)(2); King v. Housinp Authority of the City ofHuntsville,

0
              AL,670 F. 2d 952 (1 1th Cir. 1982); Skinner v, Boston Housing Authority, 690 F. Supp.
              109 (D. Mass 1988) [Reversed on the issue of the Tenants’ attorneys’ fees and,costs that

              were awarded in full by the First Circuit, 873 F. 2d 1433 (lstCir. 1989)J; Goldberg v.
a             Kelly, 397 US 254 (1 970); Escalera v. NYC Housing Authority, 425 F. 2d 853 (2d Cir.




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             1970); Lopez v. Henry Phims Plaza South, 498 F. 2d 937 (2d Cir. 1974) (binding NY

             landlords organized under the Limited Profit Housing Law of NY who receive HUD

             mortgages under the National Housing Act, 12 USC 1701 to HUD Regulations binding

             on Section 8 landlords); See also, McNeill v. NYC Housing Authority, 719 F. Supp. 233

             (SDNY 1989) (Walker, J.) confirming Petitioner’s right and standing to bring these

             arguments].

                      47.       Because under preempting HUD mandates, the legal effect of state

             officers’ denial to Petitioner of HUD’s “expanded definition of due process” and a jury

             trial, Petitioner’s lease and associated federal benefits were never legally or equitably

             terminated. Ergo, FDDC Respondents’ are jointly and severally liable for impeding by

             abuse and unjustified process Petitioner’s right to protect and maintain those rights that

             are necessary for her physical and financial survival. 24 CFR 966.4(1)(3); 42 USC 1983,

             1988, Ibid.

                      48,       Judge Schneider’s further improper act of sending Petitioner- tenant’s

D            monetary sanction to the Lawyers’ Fund is a separate breach of administrative duty.



                                                  V. MEMORANDUM OF LAW

                    A. There is no valid sanction order to which collateral estoppel can aDp1y

                      49,        The 2003 sanction was clearly issued by Judge Schneider as a chilling

             and retaliatory tactic for Mr. Dankberg’s three applications for the mandatory recusal of

             Housing Judge Laurie Lau for improper discrimination and bias up to that point. Judge

             Lau expressly agreed to voluntarily recuse herself duhing hearing in August, 2000. Yet,

             again, she failed to record the hearing to prevent review of her order on appeal.



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                        50.       Mr. Dankberg’s motion papers were then not adjudicated for two years,

               until after Judge Lau issued and entered a ludicrous decision ordering a hearing on

               sanctions to determine if tenants’ application was frivolous . Lau’s sanction order was

               issued on March 2,2001, after which Judge Lau did not correct her .record or fix the
I
               transcripts as she was obligated to do (Exhibit 7). Judge Lau’s obligation to disqualify

               herself when she first represented and agreed, means that her subsequent order is void as

               it was already tainted with disqualifying bias.
I
                        5 1,      Then Judge Schneider, who took over the case and also biased, finally

               held Mr, Dankberg’s motion for recusal moot two years after the fact, and targeted

               Petitioner-tenant for unjustified harassment.

                        52.      The following facts demonstrate FDDC Respondents’ subsequent pre-

              meditated bias and abuse after the fact that must be aborted by mandamus.


                        (i)      First, Judge Lau failed to follow the law of the case established by

               Supreme Court and FDDC Respondents also deceitfully omitted the same order from

              their petition in chief (Exhibit 1 and attachments), The two acts of misconduct are

              independent breaches of duty by the state;

e                       (ii)     Second, Judge Lau failed to record and lost her early proceedings.


                        (iii)    Third Judge Lau failed to record Mr. Dankberg’s oral arguments on

e             tenant’s 2000 motion for her mandatory recusal and to vacate the forged stipulation.


                        (iv]     Fourth, Judge Lau failed to order the original signature copies of the

a             stipulation from landlords and their attorneys.




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                                                                                                   EXHIBIT 5
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                        (v)        Fifth, Judge Lau reneged on her agreement to recuse herself and then

               repositioned herself back on the case to enter a decision ordering a hearing on sanctions

               to determine if tenant’s motion was frivolous. With her disqualification already

               mandated, Judge Lau no longer had power to issue any order. Exhibit 7).


                        (vi)      Sixth, Judge Lau never fixed the transcripts or corrected the record she

               damaged before recusing herself;


                        (vii)     Judge Lau failed to record the oral argument on the vacatur hearing in

               November, 2000 to again prevent review of both of her in court statements and

B              subsequent sanctions decision on appeal.


                        53.       These afore-stated breaches of administrative duty by a Housing Judge

D              that were aided and abetted by Clerk Belzaguy when he ordered unnoticed destruction of

               original tapes and transcripts (Exhibit 8) This demonstrates that Petitioner had no “full

               and fair opportunity to litigate or appeal” through the state system, which is required as a

               matter of law for Respondents’ petition based on collateral estoppel.

                        54.      In fact, Judge Lau’s own factual ruling at pp. 9 of her March 2,2001 order

                                                                   a.
               was that the vacatur motion was not frivolous (Exhibit         This is because Judge Lau

               held that the new tenant’s riders were “executed at a later date” ( d e r his principal lease

               was signed) (Exhibie). In other words, landlords’ new concealed tenant, Patrick Lynch,

               who was the named target of Justice Abdus-Salaam’s injunction (Exhibit 1 attachments)

               and the pre-approved sublessee of Petitioner’s apartment by landlords’ leasing agent, paid

               for and was already in possession of his own theretofore concealed principal lease estate




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I)
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              to Petitioner’s HUD/ADA protected apartment two weeks before the holdover petition

              namina Petitioner was even filed!

                        55.      The United States Supreme Court has held that there is no Eleventh

              Amendment immunity for the damages Judge Lau and Clerk Belzaguy caused to

              Petitioner’s HUD protected interests and personal property because immunity attaches to

              the function and not the office. 24 CFR 966.51(a)(2); 24 CFR 966.4(1)(3); 24 CFR

              966.66; Forrester v. White, 484 US 219 (1988) (O’Connor, J.); Goonewardena v. State of
b
              EY, 475 F. Supp. 2d 3 10 (SDNY 2007); Antoine v. Byers & Anderson, 508 U S . 429, 113

              S.Ct. 2167, 124 L.Ed.2d 391 (1993)l.
I                       56.      Likewise, there i s no immunity for Judge Schneider improperly denial of

              Petitioner’s application for a jury trial, her tenant folder, the original signature copy of the

              stipulations that landlords had forged, and a due process compliant hearing on the
B
              landlords’ stated grounds. These are mandatory rights of a HUD tenant of which the

              tenant cannot be deprived prior to lease termination without subjecting the adjudicating

D             tribunal to 42 USC 1983 liability. 24 CFR 966,51(a)(2); 955.4. 955.4(1)(3); 966.66.

              v. Housing Authority of the City o f Huntsville, AL, 670 F. 2d 952 (1 lthCir. 1982);

              Skinner v. Boston Housing Authoritv, 690 F. Supp. 109 (D. Mass 1988) [Reversed on the

              issue of the Tenants’ attorneys’ fees and costs that were awarded in full by the First

              Circuit, 873 F. 2d 1433 (lstCir. 1989)J; Goldberz v. Kelly, 397 US 254 (1970); Escalera

              v. NYC Housing Authority, 425 F. 26 853 (2d Cir. 1970); LoDez v, Henry Phipps Plaza

              South, 498 F, 2d 937 (2d Cir, 1974) (binding NY landlords organized under the Limited

              Profit Housing Law of NY who receive HUD mortgages under the National Housing Act,

              12 USC 1701 to HUD Regulations binding on Section 8 landlords); See also, McNeill v.




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               NYC Nousinn Authorifv, 719 F. Supp. 233 (SDNY 1989) (Walker, J.) confirming

               Petitioner’s right and standing to bring these arguments]. WOTE: HUD’s expanded

               definition of due process is not available to tenants in purely private housing.]

                         57.      In fact, under the Supremacy Clause and preempting HUD mandates over

               NY’s RPAPL, the legal effect of Petitioner never having been afforded HUD’s expanded

               definition of due process and a jury trial by the Housing Part is that her lease and

               associated HUD benefits were never legally or equitably terminated. This demonstrates

               tenant’s vacatur motion was absolutely proper and authorized under federal law.

                        58,       Damages and punitive damages are separately mandated against FDDC

               Respondents because their clear intent through judicial abuse was to deter Petitioner’s

               pursuit of inalienable HUD rights and remedies and to shield other officers and the state

               from federal damage liability.
D
                  B. Judge Schneider’s order is void because she had no power or iurisdiction to

                                                           preside.

                        59,      Separate and apart from the arguments above, there can be no collateral

               estoppel available to FDDC Respondents as a matter of law because Judge Schneider’s

               2003 order is void for lack jurisdiction and power to preside over the housing proceeding.

                        60.      The State’s improper decision to leave Judge Schneider on the case and

               not order her mandatory disqualification under NY’s Constitution was the fault and

              responsibility of the Chief Adm. Judge Respondent Fern Fisher. There is no immunity

              for these added administrative breaches of duty and lack of jurisdiction is not waived.

                        61.      The Rules of the Civil Court Act of the City of New York provide in

              relevant part as follows:




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                 “The Housing Part shall be presided over by a Judge of the Civil Court. The
         presiding judge shall assign the individual cases to “hearing officers”, except that actions
         in equity and all actions to be tried by iurv shall be tried before iudges. (22 NYCRR
         2900.35[1].” [Glass v. Thorn=, 51 A.D.2d 69, 379 N.Y.S.2d 427 at 429 (lstDept.
         1976), Alvarez v. Snyder, 264 A.D.2d 27,702 N.Y .S.2d 5 (1 st Dept. 2000).J

                   Chapter 3 10 of the Laws of 1978, subdivision (e) was amended to provide that

         actions and proceedings before the Housing Part would be tried before Civil Court

         Judges, Acting Civil Court Judges and Housing Judges. Babigian v. Wachtler, 113 Misc.

         2d 111,506 N.Y.S.2d 506 at 509; (Affirmed), 69 N,Y.2d 1012,517 N.Y.S.2d 905 (1987).

         However, the hearing officers authorized by Section 110 are in essence referees... and

         there is no constitutional limitation upon its power in this regard except that compulsory

         references may not violate constitutionally guaranteed rights.. .such as a right to jury trial

         (citing Schuffr v. City Bank Farmers Trust Company, 244 App. Div. 463 ,affdt269 N.Y.

         336; Steckv. Colorado Fuel & Iron Co., 142 N,Y. 236).


                   When former New York Governor Mario Cuomo later agreed to change the title

         of “hearing officer” to “housing judge”, the Court of Appeals clarified that such change

         was not intended to confer any additional jurisdiction, powers of benefits on housing

         judges. (See, Governor’s Mem. approving L. 1984, Ch. 528, 1984 McKinney’s Session

         Laws ofNew York, at 3619; Met Council v. Crosson, 84 N.Y.2d 328,618 N.Y.S.2d 617

         at 620.) Therefore, housing judges remain essentially a form of “referee”, non-iudicial

         officers of the Court, to assist (constitutional) Judges of the Civil Court in the

         performance of their judicial functions. Ibrd.

                  Actions in equity and those involving trial by jury trial are outside the scope of

         the iurisdiction of Housing Judges. Glass v. Thompson, supra, 379 N.Y.S.2d at 429. In

         fact, the United States Supreme Court and Appellate Division First DepL have both


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           confirmed there is no absolute immunity from damages under 42 U.S.C. Section 1983 for

           administrative, legislative or executive functions or for a judge’s acts outside his (her)

           jurisdiction because immunity attaches to the function and not the office. Forrester v.

           White, 484 U,S. 219, 108 f.Ct. 538, 98 L.Ed.2d 555 (1 988) (O’Connor, J,) Aharez v,

           Snyder, 264 A.D.2d 27,702 N.Y.S.2d 5 (lStDept. 2000).

                    To illustrate, the United States Supreme Court has declined to extend immunity to

           a county judge who had been charged with discriminating on the basis of race, The Court

           reasoned that whether the act done by the judge was judicial or not is to be determined by

           its character, and not by the character of the agent. Whether he was a county judge or not

           is of no importance. The duty of selecting jurors might as well have been committed to a

           private person as to one holding the office of judge. Ex parte Virginia, 100 U.S, (10

           Otto) 339,25 L.Ed. 676 (1880).

                    Likewise, judicial immunity has not been extended to judges acting to promulgate

           a code of conduct for attorneys. Supreme Court of Virginia v. Consumers Union of

           Unitedstates, Znc., 446 U.S. 719, 100 S.Ct. 1967,64 L.Ed.2d 641 (1980). The acts of

           recording proceedings and maintaining transcripts that have been delegated to

           transcribers and law clerks are also administrative such that judicial immunitv is

           improper and liabilitv will attach. Antoine v. Byers & Anderson, 508 U.S. 429, 113 S.Ct.

           2167,124 L.Ed.2d 391 (1993); Pantoia v. Scott, 1997 WL 433472,96 CV 8593 (ELM).

                    Moreover, a Judge’s breach of the Americans with Disabilities Act as

           demonstrated by Judge Lau’s in-court discriminatory statements in the early proceedings

           at bar is not protected by the Eleventh Amendment because Congress voiced an intent to




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                 the contrary. Harris v. NYS Dept. ofHealth, 202 F. Supp. 2d 143 (S.D.N.Y. 2002) and

 I               Garcia v. SUNYHealth Sciences Center at Brooklyn, 280 F.3d 98 (2d Cir. 2001).

                          New York has expressly held that a 42 USC1983 claim where the judge acting

                under color of state law deprived an individual of a federally protected right is properly

                brought when, as here, a Judge acted in the absence of jurisdiction or where the Judge

                acted in a non-iudicial, administrative capacity. Alvarez v. Snyder, 264 A.D.2d 27,702

                N.Y.S.2d 5 {lstDept. 2002). This is the analogous situation here.
 b
                          Further analogous to the situation where the Eleventh Circuit held that state law

                could not govern when the HUD-subsidized tenant’s right to discovery was only
 D              “discretionary” (Kinav. Housina Authority of the City of Huntsville, AL, supra), HUD

                Regulatory mandates and the Supremacy Clause must also govern on this issue in New

                York. No hearing officer can preside over HUD-subsidized eviction if the tenant has an

                absolute right to a jury trial, the presiding judge has no power to preside over ajury trial

                or at least made no HUD-mandated inquiry as to whether the tenant voluntarily waived

D               that right.

                         Further the HUD Tenant must have the absolute right to have the conduct of the

                Housing Judge reviewed by the Administrative Judge on a mandatory basis or in turn the
e               Administrative Judge must be subject to review by the Commission if no action, if

                warranted, is taken. Miller v Silberman, 951 F. supp. 485,494 (SDNY 1997).

                         Petitioner has standing to bring this challenge. Babbitt v. United Farm Workers

                Nat’l Union 442 U S , 289,298,99 S.Ct. 2301,60 L.Ed,2d 895 (1979); American Civil

                Liberties Union v. the Florida,Bar,999 IF, 2d 1486 (1993); Bucklev v. Illinois Judicial

I)              Inquiry Bd., 997 F.2d 224 (7‘h Cir. 1993); Stretton v. Disciplinary Bd. OfS. Ct. ofPa.,




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               944 F. 2d 137 (3d Cir. 1991); See also Chilling Injuries as a Basis for Standing, 98 Yale

1              L. J. 905 (1989).

                         New York State has admitted that it has a compelling interest in directing judges

               to maintain “high standards of conduct” and to preserve “the integrity” of the judiciary.
I
               Sparco v. NYS Commission on Judicial Conduct, 351 F.3d 65 (26 Cir. 2003). It should

               prove this by requiring mandatory discipline by the Chief Adm. Judge when a HUD

D              eviction is before the court and breach of duty is undertaken by Housing Judge.

                         62.      Based on the above authorities, Judge Schneider was not empowered to

               preside over the proceedings and her 2003 order is void, Her 2003 decision and order,
D              therefore cannot be used by Respondents to sanction Petitioner by collateral estoppel, the

               Respondents’ petition in chief must be ordered withdrawn or dismissed.



              VI. MANDATORY REVIEW OF HOUSING JUDGES IN HUD PROCEEDINGS

                         63.     In 1997, private landlords in NYC filed a class action lawsuit before

               SDNY seeking a mandatory review protocol for Housing Judges, contending that their

              rights to get summary evictions from private buildings under NY’s RPAPL were being

              sabotaged by those on the Bench. [See, Miller v. Silbermann, 832 F. Supp. 663 (SDNY

               1991)l.      The early 1991 Miller proceedings resulted in a stipulation signed and adopted

              by the then Chief Adm. Judge, Jacqueline W. Silbermann setting forth protocol for the

              mandatory review of Housing Judges including for private evictions. (Exhibit?)




              9NOTE: Judge Schneider was an attorney participating in the Miller case on amicus
              brief, demonstrating her actual knowledge of the decision and prevailing law.



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                        64.      At pp. 494, 951 F. Supp+485,494, Judge Shirley Wohl Kram held that

              mandatory review is required in HUD proceedings. This holding governs the instant

              case. It was improperly ignored by Respondent Judge Fern Fisher when complaints were

              filed by Petitioner and Mr. Dankberg concerning the ongoing misconduct of both Judges

              Lau and Schneider.

                        65.      Petitioner contends that per the Miller legislation now enacted lo,

              mandamus is proper to order Respondent Fern Fisher to discipline both Housing Judges

              and Clerk Belzaguy so as not to further prejudice Petitioner’s constitutional rights and the

              property rights of other HUD tenants.           Miller v. Silbermann, reopened decision, 95 1

              F. Supp. 4x5,at 494 (SDNY 1997) (Kram. J. agreeing)].

                        66.      In this case, two Housing Judges and one clerk intentionally defied

              preempting federal mandates and the Supremacy Clause of the United States
B
              Constitution. They were so biased to the extent that they did not even order production

              of the original signature copies of the landlords’ forged stipulations as found by Supreme

              Court. And they failed to record their own hearings and covertly ordered destruction of

              tapes and transcripts to prevent review of in-court statements and orders in Petitioner’s

              appeals and HUD damages from being awarded in her favor.
8                      67.       The stipulation found materially forged by Supreme Court is the key to

              this case. It was illegally appended to a warrant of eviction contrary to Petitioner’s

              federally protected tenancy interests when no HUD mandated notice of lease termination

              had ever been served. However, as an entered state judgment, Petitioner could no longer

              vacate it in Federal Court because to do so would violate the Rooker-Feldman doctrine,



              l o 951 F. Supp. 485 at 494



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              [On this issue, see Goonewardena v. State ofNY, 475 F, Supp. 2d 3 10 (SDNY 2007);

              See also, Lopez v. Henry Phipps Plaza South, 498 F. 26 937 (2d Cir. 1974)l.

                        68.      Directly contrary to Judge Schneider’s order and in line with Justice

              Sheila Abdus-Salaam’s ruling, the stipulation was originally and suspiciously??? drafted

              by landlords’ attorney Elliot J. Cherson, Esq. a partner in the firm of Rappaport, Hertz,

              Hertz & Rosenthal, PC on 1/25/97, a full month before thepetition ofholdover naming

             Petitioner was even filed on 2/25/97 before the Housinp Court! (Exhibit 1 attachments)
              11
                   . Most respectfully if this Court looks closely, the 1/25/97 date is crossed out. The
              date is also a month prior to the date the petition of holdover was filed. One question
D            comes to mind.. , How could the landlords ’ attorney know what provisions to insert into

             a stipulation before he evenfiled the proceeding? Clearly to intent to was get a final

             order that could not be vacated in federal court. Landlords’ attorney Cherson had actual
B
             superior knowledge that the project was HUD subsidized, and Petitioner and her attorney,

             in possession of a private lease, did not!

                        69.     The stipulation copy as filed has some 30 crossings out and stray marks

             masked by photocopies on top of photocopies, making it impossible to determine how it

             was materially changed and when. It was also never typed to disguise from the clerk’s

             intake window the added unilateral deletion of the new tenant’s signature line from the

             first page.




             ” Rappaport Hertz, Cherson & Rosenthal, PC has since been prosecuted by EEOC before
             SDNY and EDNY for physical and sexual assault of female associates and staff in their
             law office. Upon belief, the firm was on probation for 3-5 years and was separately sued
             for damages by a female associate and another female employee. See, 274 F. Supp. 2d
             260 (2003); 448 F. Supp. 2d 458 (2006).



                                                             33
                                                                                                  EXHIBIT 5
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                       70.      New tenant Patrick Lynch was already the subject of a Supreme Court

b             injunction. He was in sole possession of Petitioner’s furniture and possessions (Exhibit 1

              attachments) and was a material and necessary party to any stipulation agreement. 12

                       7 1.     Ultimately, two (2) distinct photocopied, and not original signature
I
              versions of the stipulation containing markedly different insignias each purporting to

              belong to retired Housing Judge Bruce Gould were uncovered in the Housing Part and

              Supreme Court files (Exhibit 1 attachments) . Again no disciplinary action was taken

              by FDDC Respondents when they were notified. Both court files also evidence ongoing

              material tampering by these lawyers. The files somehow include other of Mr. Cherson’s
P            papers expressly rejected by Housing Judge Peter Wendt in 2000 during the vacatur

             hearings because they were not served on Mr. Dankberg’s office.

                       72.      Also an earlier version of the stipulation that was in the Housing Court file

             originally was replaced after the fact by an unilaterally altered one containing Judge

             Gould’s signature. A third masterminded version was found in Supreme Court appended

             to landlords’ fiivolous 321 1 motion papers that they had no affiliation or legal connect

             whatsoever with Gateway Plaza. (Exhibit 2).

                       73.      When these facts were reported to Chief Adm. Judge Respondent Fern

             Fisher and documents delivered, Judge Fisher only instructed Petitioner to take them to

             the NY District Attorney and took no other disciplinary action that was mandatory. Upon

             belief, the NY District Attorney also took no action. FDDC Respondent Naomi
D


               Annie Schumacher, Lefrak’s onsite leasing agent, approved in writing Lynch’s
             furnished sublease of Petitioner’s apartment in October, 1996 during a meeting with
             petitioner’s mother, co-guarantor of her ADA approved lease, when incessant drilling
             began under Petitioner’s window on the north side of the complex and Petitioner could
             not study.


B                                                            34
                                                                                                   EXHIBIT 5
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                Goldstein then asked Petitioner to come into her office and bring the documents, which

                Petitioner did. FDDC still took no action; the meeting was a sham and FDDC

                Respondents must be sanctioned for their subsequent abuse.

                         74.       Judge Fisher then ordered an audiotape investigation. The results released

                by Civil Court Deputy Clerk Barry Clarke in 200 1 confirmed that Judge Gould never “SO

                ordered” the stipulation and the case was never called to his calendar. Still no

                disciplinary action was taken.

                         75.       Mr. Cherson’s previous affirmation submitted to the Housing Part

                CExhibit lo), falsely swore under oath that Petitioner’s first attorney Alan Goldberg,

b               Esq., appeared in Court with him ‘>physically before Judge Gould” and approved the

                stipulation changes. These ludicrous fabrications caused Civil Court Judge Martin

                Shulman to render an order inconsistent with Supreme Court, i.e., that Cherson’s

                unilateral imposed changes were de minimis. (Exhibit 11) Judge Shulman’s order is

                wrong, assumes facts not in evidence and does not account for the second and third

0               stipulation forgeries containing Judge Gould’ insignia found in Supreme Court.

                         76.      Within a year, however, Cherson’s entire affirmation was established as

                false when compared with Mr. Goldberg’s affirmations that are crystal clear he was in FL
a               on the relevant date, never appeared in Court and authorized no stipulation changes.

                (Exhibit 12) Moreover, Mr, Goldberg’s billing statements show no services on the

                                     t’’ u
                relevant t ‘ ~ ~ u r date. d
                                           )This demonstrates that the material changes as Justice

                Abdus-Salaam held, were in fact very significant.



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                                                                                                  EXHIBIT 5
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                       77.      FDDC Respondents must be sanctioned and ordered to pay punitive,

D            exemplary damages for deleting this material order from their proceeding in chief and

             staging Petitioner’s abuse and judicial harassment.

                       78.      Issuing coterminous leases and accepting multiple rents for the same
D
             apartment unit at the same is verboten for attorneys representing landlords even in purely

             private housing. The act mandates discipline in HUD housing under the Equal Protection

             Clause. This was FDDC Respondents’ duty and continuing duty as more evidence of
D
             misconduct was submitted to them including HUD’s FOIA production that incriminated a

             state agency, BPCA, in the scandal.

D                      79.      That Judge Schneider denied Petitioner’s request for trial by jury is an

             issue of public concern that attracted the personal attention of Mayor Bloomberg and the

             NYS Inspector General. In 2008, Cosmos Grant of NYS Inspector General at the request
D
             of the Mayor, wrote Mr. Belzaguy to take whatever steps he deemed necessary to ensure

             reform in the Housing Court for HUD evictions compliant with federal mandates.

D                      80.     Mr. Belzaguy, of course, having himself destroyed the audiotapes and

             transcripts from the early Lau proceedings, took no action. The need for long-overdue

             reform in the NYC Housing Part to protect the property rights of HUD tenants, remains

             urgent.                              VII. CONCLUSION

                       Based on the foregoing, Petitioner Weissbrod prays that her mandamus petition be

             granted in its entirety and that the Court order 42 USC 1983, 1988 damages, punitive
B
             damages, attorneys’ fees and costs in her favor and against Respondents. Petitioner

             further prays for an order mandating that FDDC Respondents withdraw their petition in

B           chief and discipline the attorneys found guilty under the Equal Protection Clause.




                                                            36
                                                                                                  EXHIBIT 5
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                        WHEREFORE, it is respectfully requested that this Court issue an order and

                 judgment pursuant to Article 78 of the CPLR and grant such other and further relief in

                 Petitioner’s favor as it deems just and proper.


                 Sworn to before me this
                 14fhday of September, 201 1



        /,
        ‘    2




D                NOTARY PUBLIC

                                                                     3 15 Highland Avenue
                                                                     Upper Montclair, NJJ 07043
             MARIE A. PUGLiESE
D       NOTARY PUP~II;OF NEW JERSEY
             C5f#AiSf@4 EXP!RES APRIL 1z 20’2




8




e                                                                                               EXHIBIT 5
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                               EXHIBIT 6




                               EXHIBIT 6


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                                                 ID #:471

In re Gurvey, 20 N.Y.3d 1085 (2013)
987 N.E.2d 634, 965 N.Y.S.2d 73, 2013 N.Y. Slip Op. 68377




                   20 N.Y.3d 1085                            Reported below, 102 A.D.3d 197, 958 N.Y.S.2d 5.
            Court of Appeals of New York.

   In the Matter of Amy R. GURVEY (admitted as
     Amy Rebecca Weissbrod), an Attorney and                 Appeal dismissed without costs, by the Court of Appeals,
                Counselor–at–Law.                            sua sponte, upon the ground that no substantial
 Departmental Disciplinary Committee for the First           constitutional question is directly involved.
 Judicial Department, Respondent, Amy R. Gurvey,
                     Appellant.
                                                             All Citations
                      March 26, 2013.
                                                             20 N.Y.3d 1085, 987 N.E.2d 634, 965 N.Y.S.2d 73
                                                             (Mem), 2013 N.Y. Slip Op. 68377
Opinion

End of Document                                              © 2023 Thomson Reuters. No claim to original U.S. Government Works.




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                                                                                                            EXHIBIT 6
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                               EXHIBIT 7




                               EXHIBIT 7


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                                                              ID #:473                                  CLOSED,ECF,PRO-SE

                                              U.S. District Court
                                  Southern District of New York (Foley Square)
                                CIVIL DOCKET FOR CASE #: 1:13-cv-02565-JMF


 Weissbrod v. Gonzalez et al                                                        Date Filed: 04/18/2013
 Assigned to: Judge Jesse M. Furman                                                 Date Terminated: 05/06/2013
 Cause: 42:1983 Prisoner Civil Rights                                               Jury Demand: None
                                                                                    Nature of Suit: 440 Civil Rights: Other
                                                                                    Jurisdiction: Federal Question
 Plaintiff
 Amy R. Weissbrod                                                     represented by Amy Rebecca Weissbrod
                                                                                     Uspto Inventor Issued Us Patents
                                                                                     315 Highland Avenue
                                                                                     Montclair, NY 07043
                                                                                     (973)-655-0991
                                                                                     Fax: (973)-655-0992
                                                                                     Email: amyweissbrod@verizon.net
                                                                                     ATTORNEY TO BE NOTICED


 V.
 Defendant
 Hon. Luis A. Gonzalez
 Presiding Chief Justice, Appellate Division
 First Dept.
 Defendant
 James T. Shed
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"
 Defendant
 Thomas Cahill
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"
 Defendant
 Naomi Goldstein
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"
 Defendant
 Paul Curran
 quasi-judicial officers at the First
                                                                                                              EXHIBIT 7
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?188173614533232-L_1_0-1                                                       1/6
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                                                                          NextGen Version 1.6   Page 70 of 96 Page
 Departmental Disciplinary Committee                          ID #:474
 "FDDC defendants"
 Defendant
 Jorge DoPico
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"

 Defendant
 Halliburton Fales
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"
 Defendant
 Esq. Orlando Reyes
 quasi-judicial officers at the First
 Departmental Disciplinary Committee
 "FDDC defendants"
 Defendant
 Hon. Jonathan Lippman
 Chief Justice of the NY Court of Appeals


  Date Filed            #    Docket Text
  04/18/2013             1 COMPLAINT against Thomas Cahill, Paul Curran, Jorge DoPico, Halliburton Fales,
                           Naomi Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes, James T. Shed.
                           (Filing Fee $ 350.00, Receipt Number 1065334)Document filed by Amy R. Weissbrod.
                           (laq) (Additional attachment(s) added on 6/13/2013: # 1 part 2, # 2 Part 3, # 3 Part 4, # 4
                           part 5, # 5 Part 6, # 6 Part 7) (nd). (Entered: 04/19/2013)
  04/18/2013                 SUMMONS ISSUED as to Thomas Cahill, Paul Curran, Jorge DoPico, Halliburton Fales,
                             Naomi Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes, James T. Shed.
                             (laq) (Entered: 04/19/2013)
  04/18/2013                 Magistrate Judge James L. Cott is so designated. (laq) (Entered: 04/19/2013)
  04/18/2013                 Case Designated ECF. (laq) (Entered: 04/19/2013)
  05/02/2013             3 SUMMONS RETURNED EXECUTED. Summons and Complaint served. Naomi
                           Goldstein served on 4/22/2013, answer due 5/13/2013. Service was accepted by Ms.
                           Sterling, Departmental Disciplinary Committee for the First Dept., 61 Broadway, New
                           York, NY 10006. Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013             4 SUMMONS RETURNED EXECUTED Summons and Complaint, served. Thomas Cahill
                           served on 4/24/2013, answer due 5/15/2013. Service was accepted at 420 Main Street,
                           Greenwich, Connecticut by Thomas Cahill, Officer at First Departmental Disciplinary
                           Committee. Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013             5 SUMMONS RETURNED EXECUTED. Summons and Complaint served. Luis A.
                           Gonzalez served on 4/22/2013, answer due 5/13/2013. Service was accepted by Mr. D.
                           Ramos, Chief Clerk, Appellate Division, First Department. Document filed by Amy R.
                           Weissbrod. (sc) (Entered: 05/02/2013)
                                                                                                          EXHIBIT 7
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?188173614533232-L_1_0-1                                                  2/6
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                                                        ID #:475
  05/02/2013             6 SUMMONS RETURNED EXECUTED. Summons and Complaint served. Jorge DoPico
                           served on 4/22/2013, answer due 5/13/2013. Service was accepted by Ms. Sterling,
                           Departmental Disciplinary Committee, First Dept., 61 Broadway, New York, N.Y. 10006.
                           Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013             7 SUMMONS RETURNED EXECUTED. Summons and Complaint served. Halliburton
                           Fales served on 4/22/2013, answer due 5/13/2013. Service was accepted by Ms. Sterling,
                           Departmental Disciplinary Committee, First Dept., 61 Broadway, New York, N.Y. 10006.
                           Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013             8 SUMMONS RETURNED EXECUTED. Summons and Complaint served. Paul Curran
                           served on 4/22/2013, answer due 5/13/2013. Service was accepted by Ms. Sterling,
                           Departmental Disciplinary Committee, First Dept., 61 Broadway, New York, N.Y. 10006.
                           Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013             9 SUMMONS RETURNED EXECUTED.Summons and Complaint served. James T. Shed
                           served on 4/22/2013, answer due 5/13/2013. Service was accepted by James T. Shed, Esq.
                           at 172 West 82nd Street, New York, NY 10024 Document filed by Amy R. Weissbrod. (sc)
                           (Entered: 05/02/2013)
  05/02/2013           10 SUMMONS RETURNED EXECUTED Summons and Complaint, served. Orlando Reyes
                          served on 4/22/2013, answer due 5/13/2013. Service was accepted by Ms. Sterling,
                          Departmental Disciplinary Committee, First Dept., 61 Broadway, New York, NY 10006.
                          Document filed by Amy R. Weissbrod. (sc) (Entered: 05/02/2013)
  05/02/2013           11 ORDER OF DISMISSAL: The Clerk of Court is directed to mail a copy of this Order to
                          Plaintiff and note service on the docket. Plaintiff's complaint is dismissed pursuant to 28
                          U.S.C. § 1915(e)(2)(B)(ii), (iii). Plaintiff's requests for injunctive and declaratory relief are
                          denied as moot. The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this
                          Order would not be taken in good faith, and therefore in forma pauperis status is denied for
                          the purpose of an appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).
                          The Clerk of the Court is directed to enter judgment dismissing the Complaint. (Signed by
                          Judge Jesse M. Furman on 5/2/2013) (lmb) (Entered: 05/02/2013)
  05/02/2013                 Transmission to Docket Assistant Clerk. Transmitted re: 11 Order of Dismissal, (directing
                             Clerk to mail a copy of this order to Plaintiff) to the Docket Assistant Clerk for case
                             processing. (lmb) (Entered: 05/02/2013)
  05/02/2013                 Transmission to Judgments and Orders Clerk. Transmitted re: 11 Order of Dismissal, to the
                             Judgments and Orders Clerk. (lmb) (Entered: 05/02/2013)
  05/03/2013                 Mailed a copy of 11 Order of Dismissal, to Amy Rebecca Weissbrod Uspto Inventor issued
                             Us patents 315 Highland Ave Montclair NY 07043 (sdi) (Entered: 05/03/2013)
  05/06/2013           12 FILING ERROR - DEFICIENT DOCKET ENTRY - MOTION for Reconsideration
                          and Amended Complaint. Document filed by Amy R. Weissbrod. Return Date set for
                          5/24/2013 at 11:00 AM. (Attachments: # 1 Affidavit Ps Sworn Declaration in Support of
                          Motion for Reconsideration and Amended Complaint 5-6-13, # 2 Exhibit Ps Amended
                          Complaint 5-6-13, # 3 Exhibit Certification of Svc and ECF Filing, # 4 Exhibit 2d Cir
                          Order Feb 10 2012, # 5 Exhibit SDNY Award of Arbitrator Aug 4 2009, # 6 Exhibit
                          USPTO Solicitor OED 3-15-13, # 7 Exhibit Ps Reply NY Court of Appeals 5-6-13)
                          (Weissbrod, Amy) Modified on 5/7/2013 (ldi). (Entered: 05/06/2013)
  05/06/2013           13 CLERK'S JUDGMENT That for the reasons stated in the Court's Order of Dismissal dated
                          May 2, 2013, Plaintiff's complaint is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii),
                          (iii); Plaintiff's requests for injunctive and declaratory relief are denied as moot; the Court
                          certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Order of Dismissal dated
                          May 2, 2013 would not be taken in good faith, and therefore in forma pauperis       status is
                                                                                                          EXHIBIT 7
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?188173614533232-L_1_0-1                                                     3/6
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                             denied for the purpose of an appeal. (Signed by Clerk of Court Ruby Krajick on 5/6/13)
                             (Attachments: # 1 Notice of Right to Appeal)(ml) (Entered: 05/06/2013)
  05/06/2013                 Transmission to Docket Assistant Clerk. Transmitted re: 13 Clerk's Judgment,, 11 Order of
                             Dismissal,,, to the Docket Assistant Clerk for case processing. (ml) (Entered: 05/06/2013)
  05/06/2013                 Mailed a copy of 13 Clerk's Judgment, to Amy Rebecca Weissbrod Uspto Inventor Issued
                             Us Patents 315 Highland Avenue Montclair, NY 07043 (sdi) (Entered: 05/06/2013)
  05/06/2013                 ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - DEFICIENT DOCKET
                             ENTRY ERROR. Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document
                             12 MOTION for Reconsideration and Amended Complaint. ERROR(S): Supporting
                             documents must be filed separately, each receiving their own document number.
                             Declaration in Support of Motion is found under the event list Replies, Opposition
                             and Supporting Documents. (ldi) (Entered: 05/07/2013)
  05/07/2013           14 MOTION for Reconsideration and Amended Complaint. Document filed by Amy R.
                          Weissbrod. Return Date set for 5/24/2013 at 11:00 AM.(Weissbrod, Amy) (Entered:
                          05/07/2013)
  05/07/2013           15 FILING ERROR - WRONG EVENT TYPE SELECTED FROM MENU - MOTION
                          for Reconsideration re; 14 MOTION for Reconsideration and Amended Complaint.
                          Declaration in Support. Document filed by Amy R. Weissbrod. Return Date set for
                          5/24/2013 at 11:00 AM.(Weissbrod, Amy) Modified on 5/8/2013 (ldi). (Entered:
                          05/07/2013)
  05/07/2013           16 FILING ERROR - ELECTRONIC FILING FOR NON-ECF DOCUMENT -
                          MOTION for Reconsideration re; 14 MOTION for Reconsideration and Amended
                          Complaint., 13 Clerk's Judgment,, AMENDED COMPLAINT. Document filed by Amy R.
                          Weissbrod. Return Date set for 5/24/2013 at 11:00 AM. (Attachments: # 1 Exhibit USPTO
                          Solicitor OED Investigation, # 2 Exhibit Second Circuit Order Feb 10 2012, # 3 Exhibit
                          Certification of Svc, # 4 Exhibit NY Court of Appeals Reply)(Weissbrod, Amy) Modified
                          on 5/8/2013 (ldi). (Entered: 05/07/2013)
  05/07/2013                 ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - EVENT TYPE ERROR.
                             Note to Attorney Amy Rebecca Weissbrod to RE-FILE Document 15 MOTION for
                             Reconsideration re; 14 MOTION for Reconsideration and Amended Complaint.
                             Declaration in Support. MOTION for Reconsideration re; 14 MOTION for
                             Reconsideration and Amended Complaint. Declaration in Support. Use the event type
                             Declaration in Support of Motion found under the event list Replies, Opposition and
                             Supporting Documents. Re-File and link ONLY to document # 14 Motion. (ldi)
                             (Entered: 05/08/2013)
  05/07/2013                 ***NOTE TO ATTORNEY TO RE-FILE DOCUMENT - NON-ECF DOCUMENT
                             ERROR. Note to Attorney Amy Rebecca Weissbrod to MANUALLY RE-FILE
                             Document No. 16 Amended Complaint. This document is not filed via ECF. NOTE:
                             You must indicate the case number on this document before manually filing. (ldi)
                             (Entered: 05/08/2013)
  05/08/2013           17 DECLARATION of Amy R. Weissbrod in Support re: 14 MOTION for Reconsideration
                          and Amended Complaint.. Document filed by Amy R. Weissbrod. (Attachments: # 1
                          Exhibit Certification of Svc, # 2 Exhibit 2d Cir Order Feb 10 2012, # 3 Exhibit USPTO
                          Solicitor OED March 15, 2013, # 4 Exhibit NY Court of Appeals Reply, # 5 Exhibit Ps
                          Amended Complaint Docketed #12 May 6, 2013)(Weissbrod, Amy) (Entered: 05/08/2013)
  05/14/2013           18 ORDER denying 14 Motion for Reconsideration: Accordingly, Plaintiffs motion is
                          DENIED in its entirety. Inasmuch as Plaintiff seeks permission to amend her complaint,
                          the request is DENIED. The Clerk of Court is directed to mail a copy of this order to
                                                                                                      EXHIBIT 7
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?188173614533232-L_1_0-1                                                   4/6
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                             Plaintiff and to note service on the docket. The Clerk of Court is further directed to accept
                             no further submissions from Plaintiff in this case except for papers directed to the United
                             States Court of Appeals for the Second Circuit. The Court certifies, pursuant to 28 U.S.C. §
                             1915(a)(3), that any appeal from this order would not be taken in good faith, and therefore
                             in forma pauperis status is denied for the purpose of an appeal. See Coppedge v. United
                             States, 369 U.S. 438, 444-45 (1962). (Signed by Judge Jesse M. Furman on 5/14/2013)
                             (rdz) (Entered: 05/14/2013)
  05/14/2013                 Transmission to Docket Assistant Clerk. Transmitted re: 18 Order on Motion for
                             Reconsideration to the Docket Assistant Clerk for case processing. (rdz) (Entered:
                             05/14/2013)
  05/14/2013           19 Letter addressed to Judge Jesse M. Furman from Michael A. Berg dated 5/10/2013 re: We
                          respectfully submit that Plaintiff's motion is meritless, fails to address (much less refute)
                          the substance of the Court's Order of Dismissal, and expressly concedes that Plaintiff seeks
                          to relitigate the New York State Court ruling against her. Document filed by Thomas
                          Cahill, Paul Curran, Jorge DoPico, Halliburton Fales, Naomi Goldstein, Luis A. Gonzalez,
                          Jonathan Lippman, Orlando Reyes, James T. Shed.(rdz) (Entered: 05/14/2013)
  05/14/2013                 Mailed a copy of 19 Letter, to Amy Rebecca Weissbrod Uspto Inventor Issued Us Patents
                             315 Highland Avenue Montclair, NY 07043. (jab) (Entered: 05/14/2013)
  06/05/2013           21 FILING ERROR - ELECTRONIC FILING OF NON-ECF DOCUMENT - MOTION
                          to Vacate., MOTION for Reconsideration.( Return Date set for 6/17/2013 at 11:00 PM.)
                          Document filed by Amy R. Weissbrod.(Weissbrod, Amy) Modified on 6/6/2013 (ka).
                          (Entered: 06/05/2013)
  06/05/2013           22 FILING ERROR - NO ORDER SELECTED FOR APPEAL - NOTICE OF APPEAL.
                          Document filed by Amy R. Weissbrod. Filing fee $ 455.00, receipt number 0208-8575399.
                          Form D-P is due within 14 days to the Court of Appeals, Second Circuit. (Weissbrod,
                          Amy) Modified on 6/5/2013 (nd). (Entered: 06/05/2013)
  06/05/2013                 ***NOTE TO ATTORNEY REGARDING DEFICIENT APPEAL. Note to litigant
                             Amy Weissbrod to RE-FILE Document No. 22 Notice of Appeal,. The filing is
                             deficient for the following reason: the Order being appealed was NOT selected. Re-
                             file the document as a Corrected Notice of Appeal event and select the correct
                             Order(s) being appealed. (nd) (Entered: 06/05/2013)
  06/05/2013           23 CORRECTED NOTICE OF APPEAL re: 22 Notice of Appeal, 18 Order on Motion for
                          Reconsideration,,, 11 Order of Dismissal,,. Document filed by Amy R. Weissbrod.
                          (Weissbrod, Amy) (Entered: 06/05/2013)
  06/05/2013                 Transmission of Notice of Appeal and Certified Copy of Docket Sheet to US Court of
                             Appeals re: 23 Corrected Notice of Appeal. (tp) (Entered: 06/05/2013)
  06/05/2013                 Appeal Fee Paid electronically via Pay.gov: for 23 Corrected Notice of Appeal. Filing fee $
                             455.00. Pay.gov receipt number 0208-8575399, paid on 6/5/2013. (tp) (Entered:
                             06/05/2013)
  06/05/2013                 Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                             Electronic Files for 14 MOTION for Reconsideration and Amended Complaint filed by
                             Amy R. Weissbrod, 23 Corrected Notice of Appeal filed by Amy R. Weissbrod, 5
                             Summons Returned Executed filed by Amy R. Weissbrod, 12 MOTION for
                             Reconsideration and Amended Complaint filed by Amy R. Weissbrod, 15 MOTION for
                             Reconsideration re; 14 MOTION for Reconsideration and Amended Complaint.
                             Declaration in Support. MOTION for Reconsideration re; 14 MOTION for
                             Reconsideration and Amended Complaint. Declaration in Support filed by Amy R.
                             Weissbrod, 10 Summons Returned Executed, filed by Amy R. Weissbrod, 17 Declaration
                                                                                                       EXHIBIT 7
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                             in Support of Motion, filed by Amy R. Weissbrod, 8 Summons Returned Executed, filed
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                             Executed, filed by Amy R. Weissbrod, 21 MOTION to Vacate. MOTION for
                             Reconsideration filed by Amy R. Weissbrod, 16 MOTION for Reconsideration re; 14
                             MOTION for Reconsideration and Amended Complaint, 13 Clerk's Judgment, AMENDED
                             COMPLAINT. MOTION for Reconsideration re; 14 MOTION for Reconsideration and
                             Amended Complaint, 13 Clerk's Judgment, AMENDED COMPLAINT. MOTION for
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                             Judgment, AMENDED COMPLAINT filed by Amy R. Weissbrod, 18 Order on Motion for
                             Reconsideration, 6 Summons Returned Executed, filed by Amy R. Weissbrod, 2 Screening
                             Memo to Judge, 19 Letter, filed by Halliburton Fales, Jonathan Lippman, Naomi
                             Goldstein, Thomas Cahill, Orlando Reyes, Luis A. Gonzalez, Jorge DoPico, James T.
                             Shed, Paul Curran, 4 Summons Returned Executed, filed by Amy R. Weissbrod, 13 Clerk's
                             Judgment, 11 Order of Dismissal, were transmitted to the U.S. Court of Appeals. (tp)
                             (Entered: 06/05/2013)
  06/06/2013                 ***NOTE TO ATTORNEY THAT THE ATTEMPTED FILING OF Document No. 21
                             HAS BEEN REJECTED. Note to Attorney Amy Rebecca Weissbrod : THE
                             CLERK'S OFFICE DOES NOT ACCEPT LETTERS FOR FILING, either through
                             ECF or otherwise, except where the judge has ordered that a particular letter be
                             docketed. Letters may be sent directly to a judge. (ka) (Entered: 06/06/2013)
  10/23/2014           25 MANDATE of USCA (Certified Copy) as to 23 Corrected Notice of Appeal filed by Amy
                          R. Weissbrod, 22 Notice of Appeal, filed by Amy R. Weissbrod USCA Case Number 13-
                          2211. UPON DUE CONSIDERATION WHEREOF, IT IS HEREBY
                          ORDERED,ADJUDGED, AND DECREED that the judgment of the District Court is
                          AFFIRMED. Catherine O'Hagan Wolfe, Clerk USCA for the Second Circuit. Issued As
                          Mandate: 10/25/2014. (tp) (Entered: 10/24/2014)
  10/24/2014                 Transmission of USCA Mandate/Order to the District Judge re: 25 USCA Mandate. (tp)
                             (Entered: 10/24/2014)



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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X                            May 02, 2013
                                                                :
 AMY R. WEISSBROD,                                              :
                                                                :   ORDER OF DISMISSAL
                            Plaintiff,                          :
                                                                :    13 Civ. 2565 (JMF)
          -against-                                             :
                                                                :
 HON. LUIS A. GONZALEZ, PRESIDING CHIEF :
 JUSTICE, APPELLATE DIVISION FIRST                              :
 DEPT.; JAMES T. SHED; THOMAS CAHILL;                           :
 NAOMI GOLDSTEIN; PAUL CURRAN; JORGE :
 DoPICO; HALLIBURTON FALES; ORLANDO :
 REYES, ESQ. [QUASI-JUDICIAL OFFICERS                           :
 AT THE FIRST DEPARTMENTAL                                      :
 DISCIPLINARY COMMITTEE (HEREIN “FDDC :
 DEFENDANTS”)]; AND HON. JONATHAN                               :
 LIPPMAN, CHIEF JUSTICE OF THE NEW                              :
 YORK COURT OF APPEALS,                                         :
                                                                :
                            Defendants.                         :
                                                                :
 ---------------------------------------------------------------X

 JESSE M. FURMAN, United States District Judge:

         Plaintiff, appearing pro se, brings this action under 42 U.S.C. § 1983, alleging that

 Defendants violated her constitutional rights. The Court dismisses the complaint for the reasons

 set forth below.

                                         STANDARD OF REVIEW

         The Court has the authority to dismiss a frivolous complaint sua sponte, even when the

 plaintiff has paid the filing fee. Fitzgerald v. First East Seventh Tenants Corp., 221 F.3d 362,

 363-64 (2d Cir. 2000) (per curiam) (citing Pillay v. INS, 45 F.3d 14, 16-17 (2d Cir. 1995) (per

 curiam) (holding that Court of Appeals has inherent authority to dismiss frivolous appeal)). A

 claim is “frivolous when either: (1) the factual contentions are clearly baseless, such as when




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 allegations are the product of delusion or fantasy; or (2) the claim is based on an indisputably

 meritless legal theory.” Livingston v. Adirondack Beverage Co., 141 F.3d 434, 437 (2d Cir.

 1998) (internal quotation marks and citation omitted). District courts “remain obligated to

 construe a pro se complaint liberally.” Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009). Thus,

 courts should read pro se complaints with “special solicitude” and interpret them to raise the

 “strongest [claims] that they suggest.” Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 474-

 75 (2d Cir. 2006) (internal quotation marks and citations omitted).

                                          BACKGROUND

        Plaintiff, an attorney who, as of January 1, 2013, has been suspended for six months from

 the practice of law in the state of New York, brings this action alleging violation of her rights by

 Defendants during the course of the proceedings that led to her suspension. She seeks injunctive

 and declaratory relief against Defendants. Specifically, Plaintiff seeks to vacate the order

 suspending her from the practice of law for six months and to vacate a portion of the sanction

 order requiring Plaintiff to pay $5,000 to the Housing Part and $8,300 to be reinstated to the

 practice of law. Plaintiff also seeks unspecified monetary damages.

                                           DISCUSSION

 A.     Eleventh Amendment

        Plaintiff’s monetary claims against Defendants must be dismissed because the Eleventh

 Amendment bars from federal court all suits by private parties against a state unless the state

 consents to such a suit or Congress has expressly abrogated its immunity. See Bd. of Trustees v.

 Garrett, 531 U.S. 356, 363-64 (2001); Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89,

 98-100 (1984). A state’s immunity extends to state officials sued in their official capacities



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 where the state is the “real, substantial party in interest.” See Huang v. Johnson, 261 F.3d 65,

 69-70 (2d Cir. 2001).

        Because neither the State of New York nor its officials have consented to being sued in

 federal court under 42 U.S.C. § 1983, and Congress has not expressly abrogated the state’s

 immunity, see Trotman v. Palisades Interstate Park Comm’n, 557 F.2d 35, 40 (2d Cir. 1977),

 Plaintiff’s claims are barred by the Eleventh Amendment. See Zukerman v. Appellate Div., 421

 F.2d 625, 626 (2d Cir. 1970); Davis v. State of New York, No. 90 Civ. 6170 (MBM), 1991 WL

 156351, *2 (S.D.N.Y. Aug. 6, 1991); Mathis v. Clerk of First Dep’t, Appellate Div., 631 F. Supp.

 232, 235 (S.D.N.Y. 1986).

 B.     Rooker-Feldman Doctrine

        To the extent Plaintiff seeks to bring claims challenging a judgment obtained in state

 court, her claims must be dismissed because they are barred under the Rooker-Feldman doctrine.

 The doctrine ― created by two Supreme Court cases, Rooker v. Fidelity Trust Co., 263 U.S. 413,

 415-16 (1923), and District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 482-86

 (1983) ― precludes federal district courts from reviewing final judgments of the state courts,

 except for constitutional challenges raised on direct appeal to the United States Supreme Court

 and reviews pursuant to an application for a writ of habeas corpus. See 28 U.S.C. § 1257(a) (the

 United States Supreme Court has the sole authority to review a state court’s judicial decisions).

 In other words, district courts are barred from deciding cases “brought by state-court losers

 complaining of injuries caused by state-court judgments rendered before the district court

 proceedings commenced and inviting district court review and rejection of those judgments.”

 Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005); see also Green v.



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 Mattingly, 585 F.3d 97, 101 (2d Cir. 2009) (noting the four circumstances requiring application

 of the Rooker-Feldman doctrine).

        Inasmuch as Plaintiff (1) alleges that she lost in state court; (2) “complains of injuries

 caused by [a] state-court judgment”; and (3) asks this Court to review and reject the state court’s

 judgment, Green, 585 F.3d at 101, her claims are barred under the Rooker-Feldman doctrine.

 See also Brooks-Jones v. Hones, 916 F. Supp. 280, 281-82 (S.D.N.Y. 1996) (“[A] plaintiff also

 may not seek reversal of a state court judgment simply by casting her complaint in the form of a

 civil rights action.”). Applying this doctrine in a similar case, the Second Circuit held that “[a]

 challenge to a state judge’s exercise of jurisdiction to suspend an attorney from practice is, in

 effect, a request to review the state court’s judgment suspending the attorney from practice,

 which is precluded by the Rooker-Feldman doctrine.” Abrahams v. App. Div., 311 Fed. App’x

 474, 475 (2d Cir. 2009). For the same reason, Plaintiff’s claims challenging the discipline

 imposed against her as an attorney are precluded.

 C.     Judicial Immunity

        Plaintiff’s claims against Hon. Luis A. Gonzalez and Hon. Jonathan Lippman must also

 be dismissed on the basis of judicial immunity. Judges have absolute immunity from suit for

 judicial acts performed in their judicial capacities. Mireles v. Waco, 502 U.S. 9, 12 (1991) (per

 curiam) (“[J]udicial immunity is an immunity from suit, not just from the ultimate assessment of

 damages.”) (citation omitted). See also Stump v. Sparkman, 435 U.S. 349, 356 (1978); Pierson

 v. Ray, 386 U.S. 547, 553-55 (1967); Oliva v. Heller, 839 F.2d 37, 38 (2d Cir. 1998); see also

 Forrester v. White, 484 U.S. 219, 225 (1988). This absolute “judicial immunity is not overcome

 by allegations of bad faith or malice,” nor can a judge “be deprived of immunity because the



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 action he took was in error . . . or was in excess of his authority.” Mireles, 502 U.S. at 12-13

 (quoting Stump, 435 U.S. at 356).

        Plaintiff’s argument that Defendant Gonzalez is not protected by judicial immunity

 because his actions were in the “absence of all judicial and statutory authority,” is without merit.

 Under New York Judiciary Law § 90(2), the Appellate Division of the Supreme Court is

 “authorized to censure, suspend from practice or remove from office any attorney and counselor-

 at-law admitted to practice who is guilty of professional misconduct, malpractice, fraud, deceit,

 crime or misdemeanor, or any conduct prejudicial to the administration of justice.” The decision

 to suspend Plaintiff from the practice of law for six months arose from a ten-year litigation

 wherein Plaintiff alleged that she was fraudulently induced to vacate her federally-subsidized

 Battery City Park apartment. This litigation resulted in, among other things, two Civil Court

 decisions and one Supreme Court decision imposing monetary sanctions against Plaintiff in the

 total amount of $8,783. See In the Matter of Gurvey, 958 N.Y.S.2d 5 (App. Div. 2012). Plaintiff

 was sanctioned for “years of vituperative litigation,” frivolous motion practice, and intentional

 misrepresentations to the court. Id. at 6. In light of the foregoing, a panel of the Appellate

 Division, First Department, including Defendant Gonzalez, upon review of the allegations of

 Plaintiff’s misconduct in that case, ordered Plaintiff’s suspension. Because Defendant Gonzalez

 did not act in the absence of jurisdiction, absolute immunity warrants dismissal of the claims

 against him. See Abrahams, 311 Fed. App’x at 476 (holding that justices had jurisdiction under

 New York Judiciary Law to suspend Plaintiff’s license and claims against justices were therefore

 barred by absolute immunity).




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          Therefore, Plaintiff’s claims against Hon. Luis A. Gonzalez and Hon. Jonathan Lippman

 are dismissed because they seek monetary damages against Defendants who are absolutely

 immune from such relief. 28 U.S.C. § 1915(e)(2)(B)(iii).

 D.     Quasi-Judicial Immunity

        Plaintiff’s claims against James T. Shed, Thomas Cahill, Naomi Goldstein, Paul Curran,

 Jorge DoPico, Halliburton Fales, and Orlando Reyes, all of whom Plaintiff asserts are members

 of the First Departmental Disciplinary Committee, must also be dismissed. The doctrine of

 quasi-judicial immunity extends absolute immunity to “certain others who perform functions

 closely associated with the judicial process,” Cleavinger v. Saxner, 474 U.S. 193, 200 (1985),

 including Defendants, see Anonymous v. Ass’n of the Bar of N.Y., 515 F.2d 427, 433 (2d Cir.

 1975) (noting that disciplinary proceedings are judicial in nature and holding that the state

 grievance committee acted “as a quasi-judicial body”); see also Thaler v. Casella, 960 F. Supp.

 691, 700 (S.D.N.Y. 1997) (holding that judicial immunity bars claims against the Grievance

 Committee and its members).

        Therefore, because state bar disciplinary proceedings are clearly judicial in nature, see

 Truong v. McGoldrick, et al., No. 06 Civ. 1430 (SAS), 2006 WL 1788960, at *3 (S.D.N.Y.

 2006) (quoting Sassower. v. Mangano, et al., 927 F. Supp. 113, 120 (S.D.N.Y. 1996)), quasi-

 judicial immunity bars Plaintiffs claims against these members of the First Departmental

 Disciplinary Committee. 28 U.S.C. § 1915(e)(2)(B)(ii).

 E.     Supplemental Jurisdiction

        Under 28 U.S.C. § 1367(c)(3), a district court may decline to exercise its supplemental

 jurisdiction over state law claims when it “has dismissed all claims over which it has original

 jurisdiction[.]” As Plaintiff’s federal claims are dismissed for failure to state a claim, the Court

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 declines to exercise its supplemental jurisdiction over any remaining state-law claims that

 Plaintiff raises in her Complaint. See Martinez v. Simonetti, 202 F.3d 625, 636 (2d Cir. 2000)

 (directing dismissal of supplemental state law claims where no federal claims remained).

                                          CONCLUSION

        The Clerk of Court is directed to mail a copy of this Order to Plaintiff and note service on

 the docket. Plaintiff’s complaint is dismissed pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii), (iii).

 Plaintiff’s requests for injunctive and declaratory relief are denied as moot.

        The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this Order would

 not be taken in good faith, and therefore in forma pauperis status is denied for the purpose of an

 appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

        The Clerk of the Court is directed to enter judgment dismissing the Complaint.

        SO ORDERED.


 Dated: May 2, 2013
        New York, New York




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------------X                  5/14/2013
                                                                         :
 AMY R. WEISSBROD,                                                       :
                                                                         :       ORDER
                            Plaintiff,                                   :
                                                                         :   13 Civ. 2565 (JMF)
          -against-                                                      :
                                                                         :
 HON. LUIS A. GONZALEZ, PRESIDING CHIEF                                  :
 JUSTICE, APPELLATE DIVISION FIRST                                       :
 DEPT.; JAMES T. SHED; THOMAS CAHILL;                                    :
 NAOMI GOLDSTEIN; PAUL CURRAN; JORGE                                     :
 DoPICO; HALLIBURTON FALES; ORLANDO                                      :
 REYES, ESQ. [QUASI-JUDICIAL OFFICERS                                    :
 AT THE FIRST DEPARTMENTAL                                               :
 DISCIPLINARY COMMITTEE (HEREIN “FDDC                                    :
 DEFENDANTS”)]; AND HON. JONATHAN                                        :
 LIPPMAN, CHIEF JUSTICE OF THE NEW                                       :
 YORK COURT OF APPEALS,                                                  :
                                                                         :
                            Defendants.                                  :
                                                                         :
 ------------------------------------------------------------------------X

 JESSE M. FURMAN, United States District Judge:

         By Order dated May 2, 2013, Plaintiff’s pro se complaint was dismissed pursuant to

 28 U.S.C. § 1915(e)(2)(B)(ii), (iii). On May 6, 2013, the Court received Plaintiff’s motion for

 reconsideration and amended complaint.

         The Court liberally construes this submission as a motion to alter or amend judgment

 under Federal Rule of Civil Procedure 59(e), a motion for reconsideration under Local Civil Rule

 6.3, and in the alternative, as a motion for relief from a judgment or order under Federal Rule of

 Civil Procedure 60(b). See Triestman v. Fed. Bureau of Prisons, 470 F.3d 471, 474 (2d Cir.

 2006); see also Tracy v. Freshwater, 623 F.3d 90, 101 (2d Cir. 2010) (noting that the solicitude

 afforded to pro se litigants takes a variety of forms, including liberal construction of papers,




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 “relaxation of the limitations on the amendment of pleadings,” leniency in the enforcement of

 other procedural rules, and “deliberate, continuing efforts to ensure that a pro se litigant

 understands what is required of him”) (citations omitted). After reviewing the arguments in

 Plaintiff’s submission, the Court denies Plaintiff’s motion.

                                            DISCUSSION

        “[T]he standards governing Fed. R. Civ. P. 59(e) and Local Civil Rule 6.3 are the same.”

 R.F.M.A.S., Inc. v. Mimi So, 640 F. Supp. 2d 506, 509 (S.D.N.Y. 2009). The movant must

 demonstrate that the Court overlooked “controlling decisions or factual matters” that had been

 previously put before it. Id. at 509 (discussing both Local Civil Rule 6.3 and Federal Rule of

 Civil Procedure 59(e)); see Padilla v. Maersk Line, Ltd., 636 F. Supp. 2d 256, 258-59 (S.D.N.Y.

 2009). “Such motions must be narrowly construed and strictly applied in order to discourage

 litigants from making repetitive arguments on issues that have been thoroughly considered by the

 court.” Range Road Music, Inc. v. Music Sales Corp., 90 F. Supp. 2d 390, 391-92 (S.D.N.Y.

 2000); see also SimplexGrinnell LP v. Integrated Sys. & Power, Inc., 642 F. Supp. 2d 206, 210

 (S.D.N.Y. 2009) (“A motion for reconsideration is not an invitation to parties to ‘treat the court’s

 initial decision as the opening of a dialogue in which that party may then use such a motion to

 advance new theories or adduce new evidence in response to the court’s ruling.’”) (internal

 quotation and citations omitted).

        Plaintiff, in her motion, has failed to demonstrate that the Court overlooked any

 controlling decisions or factual matters with respect to her dismissed action. Thus, Plaintiff’s

 motion, to the extent that it is brought under Federal Rule of Civil Procedure 59(e) and Local

 Civil Rule 6.3, is denied.


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           Under Federal Rule of Civil Procedure 60(b), a party may seek relief from a district

 court’s order or judgment for the following reasons:

                  (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly
                  discovered evidence that, with reasonable diligence, could not have
                  been discovered in time to move for a new trial under Rule 59(b);
                  (3) fraud (whether previously called intrinsic or extrinsic),
                  misrepresentation, or other misconduct of an opposing party;
                  (4) the judgment is void; (5) the judgment has been satisfied,
                  released, or discharged; it is based on an earlier judgment that has
                  been reversed or vacated; or applying it prospectively is no longer
                  equitable; or (6) any other reason justifying relief.

 Fed. R. Civ. P. 60(b). Even under a liberal interpretation of Plaintiff’s motion, Plaintiff has

 failed to demonstrate that any of the grounds listed in the first five clauses of Rule 60(b) apply.

 Therefore, to the extent that Plaintiff seeks relief under any of these clauses, her motion is

 denied.

           To the extent that Plaintiff seeks relief under Federal Rule of Civil Procedure 60(b)(6),

 her motion is also denied. With respect to such motions, the movant must first demonstrate that

 he or she could not have sought relief under any of the first five clauses of Rule 60(b). See

 United Airlines, Inc. v. Brien, 588 F.3d 158, 175 (2d Cir. 2009). In addition, the movant must

 show that the motion was filed within a “reasonable time” and that “‘extraordinary

 circumstances’ [exist] to warrant relief.” Old Republic Ins. Co. v. Pac. Fin. Servs. of Am., Inc.,

 301 F.3d 54, 59 (2d Cir. 2002) (per curiam) (citation omitted). Plaintiff has failed to

 demonstrate that any extraordinary circumstances exist to warrant relief under Rule 60(b)(6).




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                                          CONCLUSION

        Accordingly, Plaintiff’s motion is DENIED in its entirety. Inasmuch as Plaintiff seeks

 permission to amend her complaint, the request is DENIED.

        The Clerk of Court is directed to mail a copy of this order to Plaintiff and to note service

 on the docket.

        The Clerk of Court is further directed to accept no further submissions from Plaintiff in

 this case except for papers directed to the United States Court of Appeals for the Second Circuit.

        The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal from this order

 would not be taken in good faith, and therefore in forma pauperis status is denied for the purpose

 of an appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

        SO ORDERED.


 Dated: May 14, 2013
        New York, New York




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                                                                  General Docket
                                                            Court of Appeals, 2nd Circuit
  Court of Appeals Docket #: 13-2211                                                                                  Docketed: 06/06/2013
  Nature of Suit: 3440 CIVIL RIGHTS-Other                                                                              Termed: 08/19/2014
  Weissbrod v. Gonzalez
  Appeal From: SDNY (NEW YORK CITY)
  Fee Status: Paid

  Case Type Information:
    1) Civil
    2) Private
    3) -

  Originating Court Information:
     District: 0208-1 : 13-cv-2565
     Trial Judge: Jesse M. Furman, U.S. District Judge
     Date Filed: 04/18/2013
     Date Order/Judgment:                                       Date NOA Filed:                       Date Rec'd COA:
     05/14/2013                                                 06/05/2013                            06/06/2013

  Prior Cases:
     None

  Current Cases:
    None

  Panel Assignment:                Not available



  Amy Rebecca Gurvey
  Terminated: 03/28/2018
              Plaintiff - Appellant
  ------------------------------

  Hon. Luis A. Gonzalez, Presiding Chief Justice, Appellate Division       Mark Shawhan, Esq., -
  First Dept.                                                              Direct: 212-416-6325
               Defendant - Appellee                                        [COR NTC Attorney]
                                                                           New York State Office of the Attorney General
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                                                                           120 Broadway
                                                                           New York, NY 10271

  James T. Shed, quasi-judicial officers at the First Departmental         Mark Shawhan, Esq., -
  Disciplinary Committee "FDDC defendants"                                 Direct: 212-416-6325
                Defendant - Appellee                                       [COR NTC Attorney]
                                                                           (see above)

  Thomas Cahill, quasi-judicial officers at the First Departmental         Mark Shawhan, Esq., -
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                Defendant - Appellee                                       [COR NTC Attorney]
                                                                           (see above)

  Naomi Goldstein, quasi-judicial officers at the First Departmental       Mark Shawhan, Esq., -
  Disciplinary Committee "FDDC defendants"                                 Direct: 212-416-6325
                Defendant - Appellee                                       [COR NTC Attorney]
                                                                           (see above)

  Jorge DoPico, quasi-judicial officers at the First Departmental          Mark Shawhan, Esq., -
  Disciplinary Committee "FDDC defendants"                                 Direct: 212-416-6325
                Defendant - Appellee                                       [COR NTC Attorney]
                                                                           (see above)

  Halliburton Fales, quasi-judicial officers at the First Departmental     Mark Shawhan, Esq., -
  Disciplinary Committee "FDDC defendants"                                 Direct: 212-416-6325
                Defendant - Appellee                                       [COR NTC Attorney]
                                                                           (see above)

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                                                                             Docket         Page 90 of 96 Page
  Orlando Reyes, Esq., quasi-judicial officers at the First
                                                             ID  #:494
                                                                   Mark Shawhan, Esq., -
  Departmental Disciplinary Committee "FDDC defendants"             Direct: 212-416-6325
             Defendant - Appellee                                   [COR NTC Attorney]
                                                                    (see above)

  Hon. Jonathan Lippman, Chief Justice of the NY Court of Appeals   Mark Shawhan, Esq., -
              Defendant - Appellee                                  Direct: 212-416-6325
                                                                    [COR NTC Attorney]
                                                                    (see above)

  Paul Curran, quasi-judicial officers at the First Departmental    Mark Shawhan, Esq., -
  Disciplinary Committee "FDDC defendants"                          Direct: 212-416-6325
                Defendant                                           [COR NTC Attorney]
                                                                    (see above)




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                                                                 ID #:495
  Amy R. Weissbrod,

                 Plaintiff - Appellant,

  v.

  Hon. Luis A. Gonzalez, Presiding Chief Justice, Appellate Division First Dept., James T. Shed, Thomas Cahill, Naomi Goldstein, Jorge
  DoPico, Halliburton Fales, Orlando Reyes, Esq., quasi-judicial officers at the First Departmental Disciplinary Committee "FDDC
  defendants", Hon. Jonathan Lippman, Chief Justice of the NY Court of Appeals,

                 Defendants - Appellees,

  Paul Curran,

               Defendant.




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                                                                 ID #:496
  06/06/2013         1            NOTICE OF CIVIL APPEAL, with district court docket, on behalf of Appellant Amy R. Weissbrod, FILED.
                52 pg, 7.49 MB    [958085] [13-2211] [Entered: 06/06/2013 02:32 PM]
  06/06/2013         2            PAYMENT OF DOCKETING FEE, on behalf of Appellant Amy R. Weissbrod, district court docket entry re:
                                  receipt # 0208-8575399, FILED.[958090] [13-2211] [Entered: 06/06/2013 02:34 PM]
  06/06/2013         3            DISTRICT COURT ORDER, dated 05/14/2013, RECEIVED.[958095] [13-2211] [Entered: 06/06/2013 02:34
                4 pg, 70.89 KB    PM]
  06/06/2013         4            DISTRICT COURT ORDER, dated 05/02/2013, RECEIVED.[958098] [13-2211] [Entered: 06/06/2013 02:35
                7 pg, 87.93 KB    PM]
  06/06/2013         5            INSTRUCTIONAL FORMS, to Pro Se litigant, SENT.[958099] [13-2211] [Entered: 06/06/2013 02:35 PM]
                2 pg, 116.36 KB

  06/07/2013         6            ELECTRONIC INDEX, in lieu of record, FILED.[958708] [13-2211] [Entered: 06/07/2013 10:01 AM]
                9 pg, 53.47 KB

  06/26/2013         9            ACKNOWLEDGMENT AND NOTICE OF APPEARANCE FORM, on behalf of Party Amy R. Weissbrod,
                2 pg, 130.06 KB   FILED. Service date 06/19/2013 by US mail.[977180] [13-2211] [Entered: 06/27/2013 01:17 PM]
  06/26/2013         10           FORM D-P, on behalf of Appellant Amy R. Weissbrod, FILED. Service date 06/19/2013 by US mail.
                2 pg, 114.59 KB   [977181] [13-2211] [Entered: 06/27/2013 01:17 PM]
  06/26/2013         11           SCHEDULING NOTIFICATION, on behalf of Appellant Amy R. Weissbrod, informing Court of proposed due
                2 pg, 99.45 KB    date 09/06/2013, RECEIVED. Service date 06/19/2013 by US mail.[977183] [13-2211] [Entered:
                                  06/27/2013 01:18 PM]
  07/01/2013         13           NOTICE, to Appellee Thomas Cahill, Paul Curran, Jorge DoPico, Halliburton Fales, Naomi Goldstein, Luis
                1 pg, 116.46 KB   A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed , for failure to file an appearance,
                                  SENT.[979475] [13-2211] [Entered: 07/01/2013 12:05 PM]
  07/02/2013         16           NEW CASE MANAGER, Dana Ellwood, copy to pro se appellant, ASSIGNED.[980119] [13-2211] [Entered:
                1 pg, 36.81 KB    07/02/2013 08:28 AM]
  07/10/2013         19           SO-ORDERED SCHEDULING NOTIFICATION, setting Appellant Amy R. Weissbrod Brief due date as
                1 pg, 39.98 KB    09/06/2013; Joint Appendix due date as 09/06/2013, copy to pro se appellant, FILED.[985319] [13-2211]--
                                  [Edited 07/10/2013 by DE] [Entered: 07/10/2013 09:03 AM]
  07/23/2013         20           NOTICE OF APPEARANCE AS SUBSTITUTE COUNSEL, on behalf of Appellee Jorge DoPico, Naomi
                2 pg, 94.84 KB    Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed, FILED. Service date
                                  07/23/2013 by US mail. [997271] [13-2211] [Entered: 07/23/2013 11:05 AM]
  07/24/2013         21           ATTORNEY, Mark H. Shawhan, [20], in place of attorney Barbara D. Underwood, SUBSTITUTED.[998881]
                                  [13-2211] [Entered: 07/24/2013 03:41 PM]
  07/26/2013         23           ACKNOWLEDGMENT AND NOTICE OF APPEARANCE, on behalf of Appellee Thomas Cahill, Jorge
                3 pg, 135.24 KB   DoPico, Naomi Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed,
                                  FILED. Service date 07/26/2013 by US mail.[1000866] [13-2211] [Entered: 07/26/2013 12:08 PM]
  07/26/2013         24           LETTER, regarding appearance form, on behalf of Appellee Thomas Cahill, Jorge DoPico, Naomi
                2 pg, 69.85 KB    Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed, RECEIVED. Service
                                  date 07/26/2013 by US mail.[1000870] [13-2211]--[Edited 07/29/2013 by DE] [Entered: 07/26/2013 12:08
                                  PM]
  07/29/2013         25           CAPTION, removing Paul Curran as an appellee per acknowledgment form dated 07/26/2013, copy to pro
                1 pg, 38.64 KB    se appellant, AMENDED.[1001734] [13-2211] [Entered: 07/29/2013 08:47 AM]
  09/06/2013         26           MOTION, to extend time, on behalf of Appellant Amy R. Weissbrod, FILED. Service date 09/05/2013 by US
                112 pg, 4.18 MB   mail.[1035511] [13-2211] [Entered: 09/06/2013 04:57 PM]
  09/12/2013         32           MOTION ORDER, granting motion to extend time to file brief and appendix by 12/09/2013 [26] filed by
                1 pg, 25.02 KB    Appellant Amy R. Weissbrod, by RKW, copy to pro se appellant, FILED. [1039334][32] [13-2211] [Entered:
                                  09/12/2013 11:22 AM]
  12/09/2013         35           BRIEF & SPECIAL APPENDIX, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date
                                  12/09/2013 by CM/ECF. [1110422] [13-2211] [Entered: 12/09/2013 10:50 PM]
  12/09/2013         36           APPENDIX, volume 1 of 1, (pp. 1-489), on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service
                                  date 12/09/2013 by CM/ECF.[1110430] [13-2211] [Entered: 12/09/2013 11:57 PM]
  12/09/2013         43           MOTION, to extend time, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 12/04/2013
                96 pg, 4.38 MB    by US mail.[1116784] [13-2211] [Entered: 12/17/2013 02:49 PM]
  12/12/2013         37           CORRECTED APPENDIX, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date
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                                   12/11/2002 by CM/ECF. [1113885] [13-2211] [Entered: 12/12/2013 06:53 PM]
  12/14/2013         38            CORRECTED APPENDIX, volume 1 of 2, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service
                303 pg, 16.4 MB    date 12/11/2013 by CM/ECF. [1115008] [13-2211]--[Edited 01/13/2014 by DE] [Entered: 12/14/2013 06:08
                                   AM]
  12/14/2013         39            CORRECTED APPENDIX, volume 2 of 2, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service
                198 pg, 9.76 MB    date 12/11/2013 by CM/ECF. [1115009] [13-2211]--[Edited 01/13/2014 by DE]--[Edited 01/13/2014 by DE]
                                   [Entered: 12/14/2013 06:10 AM]
  12/16/2013         40            LR 31.2 SCHEDULING NOTIFICATION, on behalf of Appellee Thomas Cahill, Jorge DoPico, Naomi
                1 pg, 39.43 KB     Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed, informing Court of
                                   proposed due date 03/10/2014, RECEIVED. Service date 12/16/2013 by CM/ECF.[1115853] [13-2211]
                                   [Entered: 12/16/2013 04:07 PM]
  12/17/2013         45            SO-ORDERED SCHEDULING NOTIFICATION, setting Appellee Thomas Cahill, Jorge DoPico, Naomi
                1 pg, 39.62 KB     Goldstein, Luis A. Gonzalez, Jonathan Lippman, Orlando Reyes and James T. Shed Brief due date as
                                   03/10/2014, FILED.[1116809] [13-2211] [Entered: 12/17/2013 03:00 PM]
  12/17/2013         46            DEFECTIVE DOCUMENT, Brief & Special Appendix, Corrected Appendices volumes 1-2, [35], [36], [37],
                2 pg, 68.73 KB     [38], [39], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1116893] [13-2211] [Entered:
                                   12/17/2013 03:36 PM]
  12/18/2013         48            MOTION ORDER, denying as moot motion to extend time [43] filed by Appellant Amy Rebecca Weissbrod,
                1 pg, 143.41 KB    FILED. [1117404][48] [13-2211] [Entered: 12/18/2013 10:11 AM]
  01/01/2014         49            BRIEF, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 01/01/2014 by CM/ECF.
                33 pg, 1.27 MB     [1124342] [13-2211] [Entered: 01/01/2014 10:05 AM]
  01/01/2014         50            SPECIAL APPENDIX, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 01/01/2014 by
                51 pg, 2.27 MB     CM/ECF.[1124343] [13-2211] [Entered: 01/01/2014 10:06 AM]
  01/05/2014         51            MOTION, to accept brief and appendix as filed, on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                                   Service date 01/05/2014 by CM/ECF. [1125434] [13-2211]--[Edited 01/06/2014 by DE] [Entered:
                                   01/05/2014 04:54 PM]
  01/06/2014         52            DEFECTIVE DOCUMENT, Motion to accept brief and appendix as filed, [51], on behalf of Appellant Amy
                2 pg, 69.25 KB     Rebecca Weissbrod, FILED.[1125459] [13-2211] [Entered: 01/06/2014 08:35 AM]
  01/06/2014         53            MOTION, to accept brief and appendix as filed, on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                101 pg, 19.3 MB    Service date 01/06/2014 by CM/ECF. [1125570] [13-2211]--[Edited 01/06/2014 by DE] [Entered:
                                   01/06/2014 09:35 AM]
  01/06/2014         54            CURED DEFECTIVE Motion to accept brief and appendix as filed [52], [53], on behalf of Appellant Amy
                                   Rebecca Weissbrod, FILED.[1125595] [13-2211] [Entered: 01/06/2014 09:41 AM]
  01/09/2014         58            MOTION ORDER, granting motion to accept brief and appendix as filed [53] filed by Appellant Amy
                1 pg, 145.42 KB    Rebecca Weissbrod, by CFD, FILED. [1129458][58] [13-2211] [Entered: 01/09/2014 10:37 AM]
  01/15/2014         62            CURED DEFECTIVE Brief, Special Appendix, Corrected Appendix volumes 1-2 [46], [58], [49], [50], [38],
                                   [39], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1134035] [13-2211] [Entered: 01/15/2014
                                   08:37 AM]
  03/10/2014         66            BRIEF, on behalf of Appellee Thomas Cahill, Jorge DoPico, Naomi Goldstein, Luis A. Gonzalez, Jonathan
                16 pg, 589.85 KB   Lippman, Orlando Reyes and James T. Shed, FILED. Service date 03/10/2014 by CM/ECF. [1174635] [13-
                                   2211] [Entered: 03/10/2014 07:00 PM]
  03/24/2014         69            MOTION, to extend time, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 03/24/2014
                65 pg, 2.81 MB     by CM/ECF. [1185448] [13-2211] [Entered: 03/24/2014 03:48 PM]
  03/24/2014         71            MOTION, to extend time, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 03/24/2014
                174 pg, 14.24 MB   by CM/ECF. [1185489] [13-2211] [Entered: 03/24/2014 04:04 PM]
  03/24/2014         74            SUPPLEMENTARY PAPERS TO MOTION [71], on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                                   Service date 03/24/2014 by CM/ECF, US mail.[1185607][74] [13-2211] [Entered: 03/24/2014 05:23 PM]
  03/25/2014         75            DEFECTIVE DOCUMENT, Supplementary Papers, [74], on behalf of Appellant Amy Rebecca Weissbrod,
                2 pg, 57.66 KB     FILED.[1185725] [13-2211] [Entered: 03/25/2014 08:32 AM]
  03/25/2014         76            CORRECTED , on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 03/25/2014 by
                                   CM/ECF.[1186076] [13-2211] [Entered: 03/25/2014 10:53 AM]
  03/25/2014         77            DEFECTIVE DOCUMENT, Letter, [76], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1186094]
                2 pg, 58.76 KB     [13-2211] [Entered: 03/25/2014 11:02 AM]
  03/25/2014         78            LETTER, informing Court to disregard motion filed in docket entry # 69 and to instead accept motion filed
                1 pg, 43.18 KB     in docket entry # 71, on behalf of Appellant Amy Rebecca Weissbrod, RECEIVED. Service date
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                                   03/25/2014 by CM/ECF.[1186180] [13-2211]--[Edited 03/25/2014 by DE] [Entered: 03/25/2014 11:47 AM]
  03/25/2014         79            CURED DEFECTIVE Letter [77], [78], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1186188]
                                   [13-2211] [Entered: 03/25/2014 11:53 AM]
  03/25/2014         83            MOTION ORDER, granting motion to extend time to file reply brief until 04/14/2014 [71][69] filed by
                1 pg, 160.71 KB    Appellant Amy Rebecca Weissbrod, FILED. [1186459][83] [13-2211] [Entered: 03/25/2014 02:57 PM]
  04/14/2014         84            REPLY BRIEF, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 04/14/2014 by
                                   CM/ECF. [1201928] [13-2211] [Entered: 04/14/2014 10:08 PM]
  04/16/2014         85            DEFECTIVE DOCUMENT, Reply Brief, [84], on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                2 pg, 66.94 KB     [1203962] [13-2211] [Entered: 04/16/2014 04:25 PM]
  04/16/2014         86            REPLY BRIEF, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date 04/14/2014 by
                27 pg, 976.84 KB   CM/ECF. [1204075] [13-2211] [Entered: 04/16/2014 07:01 PM]
  04/17/2014         87            CURED DEFECTIVE Reply Brief [85], [86], on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                                   [1204411] [13-2211] [Entered: 04/17/2014 11:37 AM]
  05/15/2014         89            CASE CALENDARING, for the week of 08/18/2014, B, PROPOSED.[1225927] [13-2211] [Entered:
                                   05/15/2014 04:33 PM]
  06/04/2014         90            MOTION, to file supplemental appendix, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service
                                   date 06/04/2014 by CM/ECF. [1240845] [13-2211] [Entered: 06/04/2014 05:55 PM]
  06/05/2014         92            DEFECTIVE DOCUMENT, motion[90], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1241310]
                2 pg, 64.91 KB     [13-2211] [Entered: 06/05/2014 12:17 PM]
  06/05/2014         93            MOTION, to file supplemental appendix, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service
                276 pg, 12.9 MB    date 06/04/2014 by CM/ECF. [1241891] [13-2211] [Entered: 06/05/2014 10:29 PM]
  06/06/2014         94            CURED DEFECTIVE Motion [92], [93], on behalf of Appellant Amy Rebecca Weissbrod, FILED.[1241935]
                                   [13-2211] [Entered: 06/06/2014 08:47 AM]
  06/17/2014         97            CASE CALENDARING, on submission for 08/18/2014, B Panel, SET.[1250011] [13-2211] [Entered:
                                   06/17/2014 10:42 AM]
  06/19/2014         100           SUBMITTED NOTICE, to attorneys/parties, TRANSMITTED.[1253016] [13-2211] [Entered: 06/19/2014
                1 pg, 40.18 KB     04:45 PM]
  07/08/2014         104           MOTION, to consolidate appeals, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date
                                   07/08/2014 by CM/ECF. [1265524] [13-2211] [Entered: 07/08/2014 11:59 AM]
  07/08/2014         105           DEFECTIVE DOCUMENT, Motion to consolidate appeals, [104], on behalf of Appellant Amy Rebecca
                2 pg, 65.7 KB      Weissbrod, FILED.[1265567] [13-2211] [Entered: 07/08/2014 12:14 PM]
  07/08/2014         106           MOTION, to consolidate appeals, on behalf of Appellant Amy Rebecca Weissbrod, FILED. Service date
                204 pg, 11.46 MB   07/08/2014 by CM/ECF. [1265610] [13-2211] [Entered: 07/08/2014 12:31 PM]
  07/08/2014         107           CURED DEFECTIVE Motion to consolidate appeals [105], [106], on behalf of Appellant Amy Rebecca
                                   Weissbrod, FILED.[1265616] [13-2211] [Entered: 07/08/2014 12:35 PM]
  07/15/2014         111           SUBMITTED NOTICE, to attorneys/parties, copy sent to pro se, TRANSMITTED.[1271395] [13-2211]
                1 pg, 40.19 KB     [Entered: 07/15/2014 01:40 PM]
  07/16/2014         114           MOTION ORDER, denying motion to consolidate appeals [106] filed by Appellant Amy Rebecca
                2 pg, 39.22 KB     Weissbrod, FILED. [1272590][114] [13-2211] [Entered: 07/16/2014 03:11 PM]
  08/15/2014         118           SUPPLEMENTARY PAPERS TO WRIT [90], on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                535 pg, 24.92 MB   Service date 08/15/2014 by CM/ECF.[1296563][118] [13-2211] [Entered: 08/15/2014 02:28 PM]
  08/18/2014         119           SUPPLEMENTARY PAPERS TO WRIT [118], on behalf of Appellant Amy Rebecca Weissbrod, FILED.
                8 pg, 341.38 KB    Service date 08/18/2014 by CM/ECF.[1296984][119] [13-2211] [Entered: 08/18/2014 08:51 AM]
  08/18/2014         121           CASE, to JAC, CJS, C.JJ., SUBMITTED.[1297487] [13-2211]--[Edited 08/19/2014 by MR] [Entered:
                                   08/18/2014 12:32 PM]
  08/19/2014         123           NEW CASE MANAGER, Yana Segal, ASSIGNED.[1298233] [13-2211] [Entered: 08/19/2014 09:44 AM]
                1 pg, 37.18 KB

  08/19/2014         124           SUMMARY ORDER AND JUDGMENT, affirming judgment of the district court, by JAC, CJS, FILED.
                5 pg, 173.2 KB     [1298264] [13-2211] [Entered: 08/19/2014 09:51 AM]
  08/19/2014         125           MOTION ORDER, denying as moot motion to file supplemental appendix [93] filed by Appellant Amy
                3 pg, 94.49 KB     Rebecca Weissbrod, see Summary Order filed on 08/19/2014 by JAC, CJS, FILED. [1298276][125] [13-
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                                   09/02/2014 by CM/ECF. [1309110] [13-2211] [Entered: 09/02/2014 08:31 AM]
  09/03/2014         128           DEFECTIVE DOCUMENT, Motion for Rehearing En Banc, [127], on behalf of Appellant Amy Rebecca
                2 pg, 56.8 KB      Weissbrod, FILED.[1310800] [13-2211] [Entered: 09/03/2014 02:07 PM]
  09/04/2014         129           PETITION FOR REHEARING/REHEARING EN BANC, on behalf of Appellant Amy Rebecca Weissbrod,
                19 pg, 849.96 KB   FILED. Service date 09/02/2014 by CM/ECF.[1311304] [13-2211] [Entered: 09/04/2014 12:48 AM]
  09/04/2014         130           CURED DEFECTIVE Petition for Rehearing and Rehearing En Banc [129], [128], on behalf of Appellant
                                   Amy Rebecca Weissbrod, FILED.[1311379] [13-2211] [Entered: 09/04/2014 09:07 AM]
  10/16/2014         133           ORDER, petition for rehearing en banc denied,FILED.[1346480] [13-2211] [Entered: 10/16/2014 03:34 PM]
                1 pg, 18.08 KB

  10/23/2014         134           JUDGMENT MANDATE, ISSUED.[1352575] [13-2211] [Entered: 10/23/2014 03:30 PM]
                3 pg, 606.78 KB




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